Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.616 Filed 12/22/10 1Page 1 of 115




  1                   UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
  2                        SOUTHERN DIVISION

  3
       UNITED STATES OF AMERICA
  4

  5                        Government.

  6          v.                             Case No. 10-20346

  7    DEMONDRE LEVELLE MARTIN
       MICHAEL DEON DAVIS,
  8    DEAUNTE LORENZO PATRICK,
       ELRICO LAQUAN WELCH,
  9

 10                     Defendants.
       _________________________________________/
 11

 12

 13                          MOTION HEARING

 14

 15               BEFORE THE HONORABLE GERALD E. ROSEN
                      United States District Judge
 16               733 US Courthouse & Federal Building
                      231 Lafayette Boulevard West
 17                         Detroit, Michigan
                         Monday, December 13, 2010
 18

 19    APPEARANCES:

 20
               JOHN O'BRIEN
 21            JEANINE JONES
               Assistant United States Attorneys
 22            231 W. Lafayette Blvd.
               Detroit, MI 48226
 23            On behalf of the Government.

 24    To Obtain a Certified Transcript:
       Carol S. Sapala, RMR, FCRR, CSR
 25    313.961.7552
       www.transcriptorders.com
                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.617 Filed 12/22/10 2Page 2 of 115




  1

  2

  3    APPEARANCES (continuing):

  4

  5
               SANFORD SCHULMAN
  6            500 Griswold Street
               Detroit, MI 48226
  7            On behalf of Defendant Patrick.

  8            MARK MAGIDSON
               2110 Penobscot Building
  9            Detroit, MI 48226
               On behalf of Defendant Martin.
 10
               MARIA MANNARINO
 11            431 Gratiot
               Detroit, MI 48226
 12            On behalf of Defendant Davis.

 13            DAVID THOLEN
               Federal Defender Office
 14            613 Abbott Street
               Detroit, Michigan 48226
 15            On behalf of Defendant Welch.

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

                     Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.618 Filed 12/22/10 3Page 3 of 115




  1

  2                   C   O   N   T   E   N   T   S

  3    IDENTIFICATION                                        PAGE

  4    ______________________________________________________

  5

  6    WITNESSES

  7    RICHARD JURY

  8    Direct Examination by Mr. O'Brien                      6
       Cross Examination by Mr. Magidson                     53
  9    Cross Examination by Mr. Schulman                     79
       Cross Examination by Mr. Tholen                       84
 10    Cross Examination by Ms. Mannerino                    97
       Examination by The Court                             103
 11

 12    Certificate of Court Reporter                        115

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

                     Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.619 Filed 12/22/10 4Page 4 of 115




  1                         E   X   H   I   B   I   T   S

  2

  3          __________________________________________

  4    IDENTIFICATION                                   RECEIVED

  5

  6    Government's Exhibit 1 and 1A
       audio and transcript 3-25-2010                       53
  7
       Government's Exhibit 2 and 2A
  8    audio and transcript 4-7-2010                        53

  9    Government's Exhibit 3 and 3A
       audio and transcrpt 5-25-2010                        53
 10
       Government's Exhibit 4 and 4AA
 11    audio and transcript 5-27-2010                       53

 12    Government's Exhibit 5 and 5A
       audio and transcript 5-12-2010                       53
 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

                     Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.620 Filed 12/22/10 5Page 5 of 115




  1                Detroit, Michigan

  2                Monday, December 13, 2010

  3                1:40 p.m.

  4          THE LAW CLERK:     Calling case number 10-20346,

  5    United States of America versus Demondre Lavell Martin e

  6    al.

  7          THE COURT:    Appearances, please.

  8          MR. O'BRIEN:    John O'Brien on behalf of the United

  9    States.

 10          MS. JONES:    Jeanine Jones, on behalf of the United

 11    States.

 12          THE COURT:    Good afternoon.

 13          MR. SCHULMAN:     Sanford Schulman, on behalf of

 14    Deaunte Patrick.

 15          MR. MAGIDSON:     Mark Magidson on behalf of Defendant

 16    Martin who's seated to my left.

 17          MS. MANNERINO:     Maria Mannerino.

 18          MR. THOLEN:    David Tholen, on behalf of Elrico

 19    Welch who's present, Your Honor.

 20          THE COURT:    We have the remaining the issue of

 21    suppression arising out of the traffic stop on May 27,

 22    right?

 23          Mr. O'Brien, have you -- how many witness's have

 24    you got for me today?

 25          MR. O'BRIEN:    You're correct, Your Honor.

                     Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.621 Filed 12/22/10 6Page 6 of 115




  1          THE COURT:    Agent Jury and Holt?

  2          MR. O'BRIEN:    Yes.

  3          THE COURT:    Who's going to handle this?       Mr.

  4    Magidson, it's, I think, your motion.

  5          MR. MAGIDSON:     My motion.    Yes, Your Honor.

  6          THE COURT:    Are you going to handle this?

  7          MR. MAGIDSON:     Yes, Your Honor.

  8          THE COURT:    Do you anticipate producing any

  9    evidence yourself?

 10          MR. MAGIDSON:     No, Your Honor.

 11          THE COURT:    All right.     Let's get going.

 12          MR. O'BRIEN:    Thank you, Your Honor.

 13          We'd call Agent Jury to the stand.

 14         (Whereupon the witness was then sworn)

 15          THE COURT:    Be seated please.

 16          Give and spell your full name.

 17                     DIRECT   EXAMINATION

 18    BY MR. O'BRIEN:

 19    Q     State your name and spell your last name for the

 20    benefit of the Court Reporter.

 21    A     Richard Jury.     J-u-r-y.

 22    Q     Sir, you're employed how?

 23    A     Special Agent with The Bureau of Alcohol, Tobacco

 24    Firearms and Explosives.

 25    Q     For how long?

                     Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.622 Filed 12/22/10 7Page 7 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
  1    A     Approximately, five years.

  2    Q     Agent Jury, were you so employed throughout 2010?

  3    A     Yes, I was.

  4    Q     And during 2010, were you engaged in both an

  5    undercover investigation as well as regular agent

  6    responsibilities?

  7    A     Yes, I was.

  8    Q     Did the investigations that you were involved in,

  9    include your working with an individual who was

 10    referenced in Alcohol, Tobacco and Firearms documents

 11    as CI-85?

 12    A     Yes.

 13    Q     And is CI-85 someone who you know to be an

 14    individual by the name of Rabih Othman?

 15    A     Yes.

 16    Q     O-t-h-m-a-n.

 17          Early in February 2010, did you have occasion to be

 18    contacted by Mr. Othman?

 19    A     Yes, I did.

 20    Q     What was the nature of that conversation, if you

 21    recall, sir?

 22    A     I was -- I spoke to the C.I. who advised he had

 23    spoken to an individual who we identified as Anthony

 24    Pope, who advised that it was hard out there.

 25          He needed to get his ski mask and firearms back out.

                     Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.623 Filed 12/22/10 8Page 8 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
  1    Q      At that point, had you asked this -- for purposes

  2    of the hearing this afternoon, I'm going to refer to

  3    him as CI-85.

  4           Had you asked CI-85 to initiate any of that type of

  5    discussion with Mr. Pope?

  6    A      No, I did not.

  7    Q      After being advised of that conversation between

  8    Mr. Pope and CI-85, what action did you take next, if

  9    any?

 10    A      I instructed him to --

 11    Q      So we're clear, you instructed who, sir?

 12    A      Confidential informant.

 13           I instructed the confidential informant if he came

 14    back in contact with Anthony Pope, to speak with him to

 15    see if he was actually serious concerning conducting a

 16    home invasion.

 17    Q      At some point -- if I might direct your attention

 18    to 16th of February 2010.

 19           Did you, again, have a chance to speak with CI-85?

 20    A      Yes, I did.

 21    Q      During the course of that conversation, did he

 22    relay to you any information from Mr. Pope or did he

 23    advise you whether or not he and Mr. Pope had a chance

 24    to speak again?

 25    A      He advised that he had spoke to Anthony Pope and

                     Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.624 Filed 12/22/10 9Page 9 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
  1    Anthony had instructed him if he knew of any narcotics

  2    stash houses, to let him know, because he had a crew

  3    of guys that could conduct a home invasion on the

  4    narcotics house.

  5    Q     In recalling your conversation with CI-85, was

  6    that the term that was used in relating the

  7    conversation with Mr. Pope or were there some slang or

  8    terms of art that were used?

  9    A     The word "licks" was used, which is commonly

 10    known on the street to conduct some type of home

 11    invasion.

 12    Q     Are you familiar with slangs or terms used on the

 13    street that represent a place where a substantial

 14    amount of narcotics are sold?

 15    A     That would be a stash house.

 16    Q     If the amount of narcotics at a stash house rise

 17    to a certain level, is there a term of art for that as

 18    well?

 19    A     If it's raised above a certain value, I would

 20    just -- I would believe that it would be known as a

 21    dope house or stash house.

 22    Q     In your conversations with CI-85, were those

 23    terms of art being used?

 24    A     Yes, they were.

 25    Q     Did he relay to you any other additional

                     Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.625 Filed 12/22/10 10
                                                                   Page 10 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    information -- or let me ask it this way.

   2         At the conclusion of your conversation with CI-85

   3    on February 16th, what was your understanding of the

   4    substance of what Mr. Pope's interests were regarding

   5    this, this dope house?

   6    A    He would be interested in utilizing a crew to

   7    conduct an armed home invasion to split up the

   8    proceeds of the narcotics that would be located inside

   9    the stash house.

  10    Q    Did you make any arrangements with the

  11    confidential informant to provide your telephone

  12    number to anybody at that time?

  13    A    At that particular time, no.        I was unclear if

  14    this would be a serious -- if Mr. Pope was being

  15    serious or if he was just speaking out of turn.

  16         And I asked him if he did come in contact again with

  17    Mr. Pope, to contact me so we could look into it further.

  18    Q    In your -- not originally, but in the

  19    conversation with the confidential informant on

  20    February 16th, was there any discussion that was

  21    related to you regarding how anything taken from this

  22    drug house would be divided by any or all of the

  23    participants?

  24    A    The initial discussion was that Anthony Pope,

  25    along with the confidential informant, would take half

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.626 Filed 12/22/10 11
                                                                   Page 11 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    of the proceeds from the stash house and would split

   2    it with the crew that actually conducted the armed

   3    home invasion.

   4    Q    Based on your conversation with the confidential

   5    informant at that time, what was your understanding of

   6    what the proceeds were likely to be that would be

   7    taken from this stash house?

   8    A    They were discussing in terms of kilograms of

   9    cocaine.

  10    Q    On February 20, 2010, are you aware of whether or

  11    not the confidential informant received any other

  12    communications from Mr. Pope or anybody else regarding

  13    this potential home invasion?

  14    A    On February 20, 2010, he advised me he spoke with

  15    an individual by the name of Demondre Martin

  16    concerning his -- him and a crew of his individuals

  17    that he associated conducting an armed home invasion.

  18    Q    Based on your conversation with the confidential

  19    informant on February 20th, was your understanding

  20    that this individual, Mr. Martin, had contacted the

  21    confidential informant or the confidential informant

  22    had contacted Mr. Martin?

  23    A    He advised that he initially was told by Anthony

  24    Pope that Demondre Martin wanted to contact him and he

  25    reached out to Demondre Martin.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.627 Filed 12/22/10 12
                                                                   Page 12 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    Q    Were people's names being used in these

   2    conversation or nicknames or street names?

   3    A    The nickname that was given for Demondre Martin

   4    was Drè.

   5    Q    Did you have occasion to meet with the

   6    confidential informant on February 26th?         I'm sorry.

   7    February 22, 2010?

   8    A    Yes, I did.

   9    Q    And at that time, did you have an opportunity to

  10    review with him any pictures of any individuals that

  11    you had identified as a result of your investigation?

  12    A    Yes.    We showed two different photographs,

  13    driver's license photographs of Anthony Pope and

  14    Demondre Martin, who the confidential informant

  15    advised -- identified the photographs of individuals

  16    that he knew as Tony and Drè.

  17    Q    Between February 22, 2010 and March 12, 2010, are

  18    you aware, sir, or did you participate in any phone

  19    calls in an attempt to set up a meeting with this

  20    individual known as Drè or Demondre Martin?

  21    A    Yes.

  22         We arranged a meeting for March 12th of 2010 to --

  23    for myself in an undercover capacity to meet with

  24    Demondre Martin as well as with the confidential

  25    informant.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.628 Filed 12/22/10 13
                                                                   Page 13 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1         THE COURT:     You say "we arranged."

   2         Did you speak on this occasion directly to

   3    Mr. Martin?

   4         THE WITNESS:     No, I did not, Your Honor.       I --

   5         THE COURT:     This was arranged through the C.I?

   6         THE WITNESS:     Yes, sir.

   7         I instructed the informant to contact Demondre

   8    Martin on his cellular telephone.

   9         THE COURT:     At this point, you still had not had

  10    any contact whatsoever with Mr. Martin?

  11         THE WITNESS:     No, I had not.

  12    BY MR. O'BRIEN:

  13    Q    The -- up to this point, Agent Jury, was there

  14    any recordings of the telephone conversations that

  15    were made or the in person conversations, if there

  16    were any, between Mr. Pope and the confidential

  17    informant or Mr. Martin and the confidential

  18    informant?

  19    A    No, there was not.

  20    Q    Why's that?

  21    A    Due to the impromptu phone calls or meetings with

  22    the individuals and due to the fact I was unsure at

  23    this point if these individuals were serious about

  24    committing a home invasion, the informant did not have

  25    recordings at the time of those initial contacts.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.629 Filed 12/22/10 14
                                                                   Page 14 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    Q    You said at some point there was a meeting

   2    scheduled for the 12th of March 2010?

   3    A    Yes, there was.

   4    Q    Where was that location?

   5    A    We set up the meeting at 3641 Grand River in

   6    Detroit, Michigan, which is in the United Cafe parking

   7    lot in Detroit.

   8    Q    What time of the day was that meeting to take

   9    place?

  10    A    Approximately, 2:00.

  11    Q    Did it, in fact, take place?

  12    A    Yes, it did.

  13    Q    Tell us about that.

  14         Who was there?     How it is that you got there,

  15    things of that nature.

  16    A    I arrived at the location with the confidential

  17    informant.

  18         And shortly thereafter, I believe it would have been

  19    20 to 30 minutes thereafter, Demondre Martin arrived that

  20    location.

  21    Q    Once Mr. Martin arrived that location, you

  22    certainly we're able to see his face.

  23         He wasn't masked or anything, was he?

  24    A    No, he was not.

  25    Q    Would you recognize him if you were to see him

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.630 Filed 12/22/10 15
                                                                   Page 15 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    again?

   2    A    Yes, I would.

   3    Q    Is he seated in the courtroom today?

   4    A    Yes, he is.

   5    Q    Tell Judge Rosen how's he dressed.

   6    A    He's the individual on my far right at the

   7    defense table in the yellow county jumpsuit.

   8         THE COURT:     They're two individuals in the yellow

   9    county jumpsuit.

  10         THE WITNESS:     I apologize, sir.     The far end of the

  11    table facing the individual with the blue tie.          Right

  12    next to the individual with the blue tie.

  13    BY MR. O'BRIEN:

  14    Q    For purposes the record, is it the individual to

  15    the right or the left on the far side of that table?

  16    To your right, I'm sorry, or your left?

  17    A    The individual on the far right facing me.

  18    Q    Thank you.

  19         When Mr. Martin arrived, how did he arrive?

  20    A    He arrived in a black 2007 Ford Edge.

  21    Q    Were you able to have a conversation with him at

  22    that time?

  23    A    Yes, I was.

  24    Q    Where did that conversation take place?

  25    A    In an undercover vehicle.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.631 Filed 12/22/10 16
                                                                   Page 16 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    Q    Is that the vehicle that you were in?

   2    A    Yes, it was.

   3    Q    Did Mr. Martin get inside of that vehicle or did

   4    you get into his car?      How did that happen?

   5    A    Mr. Martin got in the front passenger seat of the

   6    vehicle.

   7    Q    You said at that time the confidential informant

   8    was with you at that time as well?

   9    A    Yes, he was.     He was in the rear passenger seat

  10    of the vehicle.

  11    Q    At that time, did you and Mr. Martin have

  12    additional conversation about this interest or

  13    planning regarding a home invasion of a stash house?

  14    A    Yes, we did.

  15    Q    Generally, sir, what were the topics of

  16    conversation between you and he at that time?

  17    A    I advised Mr. Martin that I had been working for

  18    an individual that was trafficking multiple --

  19    multi-kilograms of cocaine into the area.         I was

  20    unhappy with working with him.

  21         And I was -- my intention was to find a crew that

  22    would conduct an armed robbery of a narcotics stash house

  23    when the next shipment came in.

  24    Q    How did Mr. Martin respond to that information?

  25    A    Mr. Martin advised he had a crew that would be

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.632 Filed 12/22/10 17
                                                                   Page 17 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    capable of doing that.      He was interested in

   2    conducting a home invasion.

   3    Q    During the course of your conversation with Mr.

   4    Martin, did he provide you with any information about

   5    himself, specifically, whether or not he had

   6    experience in this arena or whether or not people that

   7    he associated himself with were experienced in this

   8    type of activity?

   9    A    Yes.    During the conversation, I asked him

  10    multiple times and stated multiple times I wanted

  11    individuals that were experienced and were capable of

  12    conducting an armed home invasion on this narcotics

  13    stash house.

  14         And he advised multiple times he was capable and his

  15    crew was capable of conducting an armed home invasion.

  16    Q    During the course of your conversation, was there

  17    any discussion with Mr. Martin about this fictitious

  18    home?

  19         I trust the home that you advised you were working

  20    for is fictitious?

  21    A    Yes.

  22    Q    About the amount of narcotics that you might

  23    expect to find on any given delivery date?

  24    A    Yes.    I explained that there would be typically

  25    15 to 20 kilograms of cocaine present at the location.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.633 Filed 12/22/10 18
                                                                   Page 18 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    Q    During the course of your conversation with Mr.

   2    Martin, were there any discussions about how any of

   3    the drugs or the drugs that would be taken from that

   4    home would be divided?

   5    A    We initially discussed on that occasion that we

   6    would -- that could be worked out at a future date.

   7         That I wanted -- but at that occasion, I wanted to

   8    make sure it was worth my while.

   9    Q    The vehicle that you were driving on

  10    March 12, 2010, does it have the ability to record or

  11    is it outfitted with any recording equipment to

  12    capture this conversation between you and Mr. Martin?

  13    A    Yes.    It has audio and video.

  14    Q    And were they -- those particular pieces of

  15    equipment functioning that day?

  16    A    Yes,    they were.

  17    Q    Were there audio and video recordings made

  18    between -- the conversation between you and Mr. Martin

  19    and CI-85, to the extent he participated?

  20    A    Yes, there was.

  21    Q    Have you had a chance to review either the

  22    audiotape or videotape of that particular discussion?

  23    A    Yes, I have.

  24    Q    And, sir, are you aware whether or not a

  25    transcript was prepared on the -- those words that are

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.634 Filed 12/22/10 19
                                                                   Page 19 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    intelligible on the recording equipment?

   2    A    Yes.    Transcripts are also prepared.

   3    Q    For the most part, is the spoken words between

   4    you and Mr. Martin and the confidential informant

   5    audible and able to be transcribed?

   6    A    Yes, they were.

   7    Q    Who was it who transcribed that particular video

   8    recording, if you know?

   9    A    I transcribed it.

  10         MR. O'BRIEN:     May I approach the witness, Your

  11    Honor?

  12         THE COURT:     Yes.

  13         MR. O'BRIEN:     I believe the exhibits are up on the

  14    bench.

  15    BY MR. O'BRIEN:

  16    Q    Agent Jury, on the rail in front of you are two

  17    items, one marked Government's Exhibit Number 5 and

  18    Government's Exhibits number 5A.

  19         Would you identify each of those in turn and tell

  20    us whether or not you recognize them?

  21    A    Exhibit 5 is a copy of the original recording

  22    that was conducted on March 12, 2010 at the meeting

  23    with myself, confidential informant and Demondre

  24    Martin.

  25    Q    Did you have a chance to compare that to the

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.635 Filed 12/22/10 20
                                                                   Page 20 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    original recording that was made?

   2    A    Yes, I did.

   3    Q    Is it accurate in terms of what you can hear and

   4    see on that video recording?

   5    A    Yes, it is.

   6    Q    5A.   What is that item?

   7    A    5A is a transcribed copy of what occurred on

   8    March 12, 2010.

   9    Q    Is that the transcript that you indicated you

  10    prepared a few moments ago?

  11    A    Yes, it is.

  12    Q    The voices on the -- on the video recording you

  13    recognize as yours and Mr. Martin's.        Is that true?

  14    A    Yes, I would.

  15    Q    Did you have a chance to speak with Mr. Martin

  16    again following the meeting -- well let me ask you

  17    this.

  18         After you had discussed the details of the home

  19    invasion at some point the conversation between you and

  20    Mr. Martin ended.     Is that correct?

  21    A    Yes, it is.

  22    Q    Did you leave together, separately or how did the

  23    meeting conclude?

  24    A    He exited the undercover vehicle, returned to his

  25    black 2007 Ford Edge he arrived in and departed the

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.636 Filed 12/22/10 21
                                                                   Page 21 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    location.

   2    Q    Some days later, did you have -- excuse me, have

   3    a chance to talk to Mr. Martin again?

   4    A    Yes, I did.

   5    Q    If I might direct your attention to the 22nd of

   6    March 2010.

   7         Do you recall that date in speaking to Mr. Martin?

   8    A    Yes, I do.

   9    Q    Do you recall whether or not the conversation on

  10    the 22nd of March was initiated by you or Mr. Martin?

  11    A    I received a telephone call from Mr. Martin.

  12    Q    What was the nature of that telephone

  13    conversation, if you remember, in terms of subject

  14    matter or content?

  15    A    Mr. Martin was questioning -- he was advising he

  16    would like more details on the proposed home invasion.

  17         And would like to meet -- arrange a meeting for me

  18    to meet one or multiple members of his home invasion crew

  19    to discuss the details.

  20    Q    Had the call from Mr. Martin to you on the 22nd

  21    of March been preplanned?

  22    A    No, it was not.

  23    Q    Were there any -- was there any recording

  24    equipment set up at the time Mr. Martin called you on

  25    the 22nd of March?

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.637 Filed 12/22/10 22
                                                                   Page 22 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    A    No.    Due to the timing of the telephone call, I

   2    was not able to record it.

   3    Q    Could you tell us, if you would, sir, how was it

   4    Mr. Martin came to have your telephone number, if you

   5    know?

   6    A    On March 12, 2010, we exchanged telephone numbers

   7    at the conclusion of the meeting, our original

   8    meeting.

   9    Q    You said there was a plan to meet with Mr.

  10    Martin.    Is that correct, sir?

  11    A    Yes.    On the March 22, 2010 telephone

  12    conversation, we discussed meeting on March 25, 2010.

  13    Q    And did that meeting come to take place?

  14    A    Yes, it did.

  15         MS. MANNERINO:     I'm sorry, Judge.      If I could

  16    interrupt for a moment.      My client informs me he's very

  17    uncomfortable.    He needs a break.

  18         THE COURT:     Do we have permission to continue the

  19    proceeding?

  20         MS. MANNERINO:     I believe so.     He's indicated that

  21    he would be fine with that.       I don't know if the

  22    Marshals are comfortable with that.

  23         THE COURT:     Are the Marshals able to accommodate

  24    this defendant by escorting him downstairs and giving

  25    him a break?

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.638 Filed 12/22/10 23
                                                                   Page 23 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1         Why don't you call another marshal to come up and

   2    escort him downstairs.

   3         MS. MANNERINO:     Thank you, Judge.

   4         THE COURT:     All right.    Soon as somebody comes up.

   5         MR. O'BRIEN:     May I proceed?

   6         THE COURT:     Jerry, can you call another marshal to

   7    come up?   Go ahead.

   8         MR. O'BRIEN:     Thank you.

   9    BY MR. O'BRIEN:

  10    Q    The meeting on March 25th was set up; is that

  11    correct, sir?

  12    A    Yes, it was.

  13    Q    Where was --

  14         THE COURT:     Did you say March 26th?

  15         MR. O'BRIEN:     March 25th.

  16    BY MR. O'BRIEN:

  17    Q    And where was that meeting to take place?

  18    A    3641 Grand River in Detroit, Michigan.

  19    Q    Is that the same cafe you spoke about a few

  20    moments ago?

  21    A    Yes, it was.     The meeting took place inside the

  22    actual business.

  23    Q    And at the time of that meeting, who from law

  24    enforcement, other than yourself, was present?

  25         Perhaps I'm a presuming you were there.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.639 Filed 12/22/10 24
                                                                   Page 24 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    A    Yes, I was.

   2    Q    Anybody else besides you from law enforcement

   3    there that you were aware of?

   4    A    We had a surveillance team in the area conducting

   5    surveillance on the location.

   6    Q    Was there anybody with you seated inside the

   7    restaurant or anybody who appeared to be associated

   8    with you at that time?

   9    A    No, there was not.

  10    Q    At some point, did Mr. Martin arrive?

  11    A    Yes, he did.

  12    Q    When he arrived at that location, was he alone or

  13    accompanied by somebody else?

  14    A    He was accompanied with an unknown individual.

  15    Q    Did you recognize the name Orvis Winans, sir?

  16    A    Yes, I do.

  17    Q    At some point, did you believe the individual to

  18    be an individual by the name of Orvis Winans?

  19    A    At one point we believed Orvis Winans was the

  20    unknown individual that had shown up on that day.

  21    Q    After that meeting on March 25th, were you able

  22    to confirm whether or not the individual with Mr.

  23    Martin was or was not Mr. Winans?

  24    A    Yes, we were able to confirm he was not Orvis

  25    Winans.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.640 Filed 12/22/10 25
                                                                   Page 25 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    Q    As you sit here today, have you been able to

   2    confirm the identity of the individual with Mr. Martin

   3    on that day?

   4    A    No, I was not.

   5    Q    He is not somebody who works with law

   6    enforcement?

   7    A    No, not to my knowledge.

   8    Q    And not an informant, to your knowledge?

   9    A    No.

  10    Q    During your conversation with Mr. Martin and this

  11    other individual on March 25th, what was the subject

  12    matter of that conversation?

  13    A    We discussed details of the potential armed home

  14    invasion and how Demondre Martin and the other unknown

  15    individual would conduct the home invasion when it

  16    occurred.

  17    Q    During the course of your conversation -- and let

  18    me ask you this if I can.

  19         About how long did the three of you speak?

  20    A    Approximately, an hour.       55 minutes to an hour.

  21    Q    During the course of that conversation, again,

  22    was there any discussion between you and Mr. Martin

  23    and the person with him, about whether or not they had

  24    any experience or familiarity with conducting home

  25    invasions of drug homes, drug houses?

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.641 Filed 12/22/10 26
                                                                   Page 26 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    A    Yes, there was.

   2    Q    Did one or both -- well, I'll take them in turn.

   3         Did Mr. Martin indicate to you whether or not he

   4    had any experience in that arena?

   5    A    Yes.    He advised he was more than capable of

   6    conducting and assisting in a home invasion.

   7    Q    How about this other individual?

   8    A    Yes, he did as well.

   9    Q    During the course of your conversation with these

  10    two men, was there any discussion with them about

  11    whether or not you would be armed or whether or not

  12    any firearms would be present in connection with this

  13    home invasion?

  14    A    Yes.    We discussed the ability that -- the

  15    possibility that there would be firearms as well as

  16    stating I had seen firearms previously at the

  17    location.

  18    Q    How did the two men you were speaking to respond

  19    to that?

  20    A    They discussed the possibility of disarming or a

  21    fight ensuing during the home invasion.

  22         THE COURT:     I'm sorry.    What conversation?     What

  23    meeting was this?

  24         THE WITNESS:     This was the in -- the meeting on

  25    March 25, 2010 as well as that was also discussed on

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.642 Filed 12/22/10 27
                                                                   Page 27 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    March 12, 2010 of the firearm being located.

   2         THE COURT:     When you say "they."      This other

   3    unknown individual wasn't at that meeting on March 12?

   4         THE WITNESS:     No, he was not.

   5         THE COURT:     Who is "they"?

   6         THE WITNESS:     On March 12, 2010, I discussed a

   7    firearm -- I witnessed a firearm previously at the

   8    narcotics stash house being present in the location to

   9    Defendant Martin.

  10         And on March 25th --

  11         THE COURT:     Did Mr. Martin say anything on

  12    March 12th about guns?

  13         THE WITNESS:     Yes, he did.

  14         THE COURT:     What did he say?

  15         THE WITNESS:     He advised that he believed there

  16    would be what he referred to as gun smoke during the

  17    armed home invasion.

  18         And that the individuals located inside the

  19    narcotics stash house were there to protect the

  20    narcotics and they would not allow them to leave without

  21    attempting to protect the narcotics.

  22         THE COURT:     Did Mr. Martin indicate to you in any

  23    way that he believed that he and his people who were

  24    going to carry out the home invasion, would have to have

  25    guns?

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.643 Filed 12/22/10 28
                                                                   Page 28 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1         THE WITNESS:     He advised that on March 25, 2010,

   2    Demondre Martin, as well as the other unknown

   3    individual, discussed possibly having to shoot, pistol

   4    whip or, or kill individuals that resisted during our

   5    home invasion.

   6         THE COURT:     Are they coming up?

   7         THE MARSHAL:     Yes, sir.

   8         THE COURT:     Okay.

   9         (Whereupon Defendant Davis left the courtroom)

  10         THE COURT:     Go ahead.

  11         MR. O'BRIEN:     Thank you, Judge.

  12    BY MR. O'BRIEN:

  13    Q    Agent Jury, when you first met with Mr. Martin

  14    and this other individual on the 25th, was there any

  15    discussion between the three of you about whether or

  16    not this third person had been provided any

  17    information by Mr. Martin or given any background on

  18    your meeting with him?      "He" being Mr. Martin on the

  19    12th?

  20    A    When he -- when Demondre Martin and the unknown

  21    individual originally arrived at the location, I

  22    questioned him if he had already discussed the

  23    situation with the unknown individual.

  24         And he advised he had.       And he proceeded to advise

  25    that he had discussed firearms -- a firearm being in the

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.644 Filed 12/22/10 29
                                                                   Page 29 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    location as well as the quantity of kilograms that would

   2    be present during -- at the stash location.

   3         THE COURT:     How was this unknown individual

   4    introduced to you?

   5         THE WITNESS:     He arrived at the location with

   6    Demondre Martin.

   7         THE COURT:     How was he introduced to you?

   8         THE WITNESS:     He was introduced to me by the street

   9    name of B.

  10         THE COURT:     Just B?

  11         THE WITNESS:     Yes, sir.

  12    BY MR. O'BRIEN:

  13    Q    In your --

  14         THE COURT:     You were playing a role as a -- in an

  15    uncover capacity as a drug dealer, right?

  16         THE WITNESS:     I had explained myself as a

  17    trafficker for a larger scale drug operation.          Yes, sir.

  18         I would transport the narcotics to locations that

  19    they instructed me to transport them to.

  20         THE COURT:     In that role, you would have been

  21    concerned that maybe Mr. Martin was a government

  22    informant, wouldn't you have?

  23         THE WITNESS:     Yes.

  24         THE COURT:     And maybe the person who he brought

  25    with him would have maybe been a government informant?

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.645 Filed 12/22/10 30
                                                                   Page 30 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1           THE WITNESS:   That would have been a possibility,

   2    yes.

   3           THE COURT:   Or an undercover officer?

   4           THE WITNESS:   Absolutely.    Yes, sir.

   5           THE COURT:   Did you ask Mr. Martin any questions

   6    about that?

   7           THE WITNESS:   I advised him at all times I was

   8    nervous concerning the home invasion and stressed the

   9    possibility I would be sought after following a home

  10    invasion by the individuals I worked for.

  11           THE COURT:   Okay.   Go ahead.

  12    BY MR. O'BRIEN:

  13    Q      Were their discussions between you and Mr. Martin

  14    and this other individual about how any narcotics were

  15    taken from the home would be divided?

  16    A      Yes.

  17           We came to the agreement during the conversation

  18    that they advised there would be -- during the armed home

  19    invasion, Demondre Martin, the unknown individuals as

  20    well as another unknown individual, would split the

  21    proceeds of the narcotics that were removed from the

  22    location to -- we discussed initially five kilograms a

  23    piece.

  24    Q      In your conversation with --

  25           THE COURT:   I'm sorry.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.646 Filed 12/22/10 31
                                                                   Page 31 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1         Who would get the five kilograms a piece?

   2         THE WITNESS:     If there was a total of 20 kilograms

   3    five kilograms would go to each individual that took

   4    place in the home invasion.

   5         THE COURT:     What would your cut be?

   6         THE WITNESS:     Five kilograms.

   7         THE COURT:     So you would get five and each of the

   8    people working with Mr. Martin and Mr. Martin would get

   9    five?

  10         THE WITNESS:     Yes, sir.

  11    BY MR. O'BRIEN:

  12    Q    In your conversation with Mr. Martin on the 12th,

  13    did you have any understanding about whether or not he

  14    would conduct the home invasion alone or bring other

  15    people with him?

  16    A    They discussed bringing a possible -- or they

  17    discussed bringing a third individual with them during

  18    the home invasion.

  19    Q    Was that conversation on the 25th or 12th?

  20    A    The 25th.

  21    Q    It would have been those two and yet a third

  22    individual?

  23    A    Yes.

  24    Q    During your conversation with these two men on

  25    the 25th of March, did Mr. Martin provide you any

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.647 Filed 12/22/10 32
                                                                   Page 32 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    advice on or any ideas he had about the best way to

   2    make the home invasion work, either in terms of

   3    getting them in the home, getting you out of the home

   4    or anything along those lines?

   5    A    We discussed the possibility of entering through

   6    the front door and restraining the individuals inside

   7    the residence.

   8         They, "they" being Demondre Martin and the other

   9    unknown individual, had discussed utilizing the cell

  10    phone to notify if it was possible to enter the house

  11    through the front door.

  12    Q    You or anybody from ATF take any steps to attempt

  13    to record your meeting with Mr. Martin and this other

  14    individual?

  15    A    Yes, we did.

  16    Q    What steps were taken in that regard?

  17    A    I had an audio/video recording of the

  18    conversation.

  19         THE COURT:     This was on March 25th?

  20         MR. O'BRIEN:     Yes, Your Honor.

  21    BY MR. O'BRIEN:

  22    Q    They -- the audio recording equipment, did it

  23    function?

  24    A    Yes, it did.

  25    Q    Was there an audio recording, a video recording

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.648 Filed 12/22/10 33
                                                                   Page 33 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    made of that meeting?

   2    A    Yes, there was.

   3    Q    Did you have an opportunity to review it?

   4    A    Yes, I did.

   5    Q    Are the words or some percentage of the words

   6    spoken between the three of you audible and

   7    understandable?

   8    A    Yes, they are.

   9    Q    Was there a transcript that was created of that

  10    meeting?

  11    A    Yes, there was.

  12    Q    And who was it who created that transcript?

  13    A    I did.

  14    Q    Did you create the transcript in connection with

  15    listening to the audio or watching the video?

  16    A    Yes, I did.

  17    Q    Could you take a look at what has been marked as

  18    Government's Exhibit 1 and 1A in front of you, sir,

  19    and identify them?

  20    A    Exhibit 1 is an audio/video -- a copy of the

  21    audio/video recording that occurred on March 25, 2010.

  22    Q    And what is 1A?

  23    A    1A is the transcriptions of the recording from

  24    March 25, 2010.

  25    Q    And you recognize both of those as exact copies

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.649 Filed 12/22/10 34
                                                                   Page 34 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    of the original?

   2    A    Yes, I do.

   3    Q    On April 7, 2010, did you, again, have occasion

   4    to speak to Mr. Martin?

   5    A    I'm sorry.     Could you repeat that time.

   6    Q    April 7, 2010, did you and Mr. Martin again

   7    speak?

   8    A    Yes, I did.

   9    Q    Did you call him or did he call you?

  10    A    I called him on that day.

  11    Q    What was the nature of your conversation with him

  12    on that day?

  13    A    I advised him I was waiting on the telephone call

  14    from the individual that I was working for.

  15         He advised that he was waiting to hear back from me

  16    and he was getting his guys together for the home

  17    invasion.

  18    Q    Was that telephone call recorded?

  19    A    Yes, it was.

  20    Q    Would you identify Government's 2 and 2A, if you

  21    would, please.

  22    A    Exhibit 2 is a recording of the telephone call on

  23    April 7, 2010 with Demondre Martin and myself.

  24    Q    And 2A?

  25    A    2A is the transcription of that recording.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.650 Filed 12/22/10 35
                                                                   Page 35 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    Q    Are you the person that created that transcript

   2    as well?

   3    A    I was.

   4    Q    Do you know those to be the exact recordings of

   5    the originals that you prepared?

   6    A    Yes, they were.

   7    Q    Did you have occasion to speak again to Mr.

   8    Martin after April 7, 2010?

   9    A    Yes, I did.

  10    Q    And do you recall the date of that conversation?

  11         THE COURT:     In the April 7th conversation, was

  12    there any mention of firearms?

  13         THE WITNESS:     We discussed -- during the

  14    conversation, no, Your Honor.

  15         We discussed during the conversation that Defendant

  16    Martin as well as is the unknown individuals present at

  17    the March 12, 2010 meeting are capable of doing licks or

  18    home invasions.     They would have no trouble completing

  19    the home invasion.

  20    Q    When was the next time that you and Mr. Martin

  21    spoke?

  22    A    The May 25, 2010.

  23    Q    That -- was that a call by you to Mr. Martin or

  24    Mr. Martin to you?

  25    A    That was a call by me to Mr. Martin.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.651 Filed 12/22/10 36
                                                                   Page 36 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    Q    And what was the nature of that conversation?

   2    A    I advised him that I had been contacted by the

   3    individual I worked for and that the shipment of

   4    multi-kilograms of cocaine was coming in two days.

   5    Q    How did Mr. Martin respond to that?

   6    A    Mr. Martin advised he would get a hold of his

   7    guys to make sure that everybody would be on the same

   8    page for the day of the shipment arriving.

   9    Q    Did you and Mr. Martin, during that conversation,

  10    plan or discuss a future meeting?

  11    A    Yes.    We discussed meeting the day of the

  12    shipment arriving, which would be May 27, 2010, prior

  13    to the home invasion.

  14         So everybody -- every member of his crew would get a

  15    visual of my face and know who I was.

  16                (Whereupon Defendant Davis then returned

  17                to the courtroom)

  18    BY MR. O'BRIEN:

  19    Q    What information did you provide to Mr. Martin

  20    about your interest in everybody being able to see

  21    what you look like?

  22    A    I advised that I wanted everybody on his crew to

  23    know what I looked like so I would not be harmed

  24    during the home invasion.

  25    Q    Was there discussion between you and Mr. Martin

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.652 Filed 12/22/10 37
                                                                   Page 37 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    on the 25th of May whether or not Mr. Martin

   2    anticipated any violence or any involvement of

   3    firearms during the home invasion?

   4    A    No, not on the 25th.      Not on May 25, 2010.

   5    Q    When was the next time that you spoke with Mr.

   6    Martin?   Let me ask you this.

   7         At the conclusion of your conversation on the 25th,

   8    what was the plan?

   9    A    We discussed meeting the day of the shipment

  10    arriving on May 27, 2010.

  11         THE COURT:     Was there a recording made of the

  12    May 25th conversation?

  13         THE WITNESS:     Yes, sir.    There was.

  14         MR. O'BRIEN:     Thank you, Judge.

  15    BY MR. O'BRIEN:

  16    Q    Would you look at the look at the next two

  17    exhibits in front of you, please.

  18         They're marked as Government's 3 and 3A.

  19    A    Yes, sir.    They are.

  20    Q    Identify three and 3A in turn, please?

  21    A    Exhibit 3 is the telephone conversation on

  22    May 25, 2010 with Demondre Martin and myself.

  23    Q    That is just an audio recording; is that correct?

  24    A    Yes, sir.    It is.

  25    Q    3A is what?

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.653 Filed 12/22/10 38
                                                                   Page 38 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    A    3A is the transcription of that conversation.

   2    Q    Were you the person that prepared that

   3    conversation as well?

   4    A    Yes, I did.

   5    Q    Do you know both of those items to be duplicates

   6    of the original audio/video transcript you prepared?

   7    A    Yes, sir.

   8    Q    When was the next time you spoke to Mr. Martin?

   9    A    May 27, 2010.

  10    Q    And on May 27, 2010, did Mr. Martin call you or

  11    did you call him?

  12    A    Mr. Martin called me.

  13    Q    Do you recall what time of day that telephone

  14    call was made?

  15    A    Approximately, 12 p.m.

  16    Q    Mr. Martin say why it was he was calling you

  17    afternoon on the 27th of May?

  18    A    Mr. Martin questioned if the home invasion was

  19    still planned for that day.

  20    Q    And how did you respond?

  21    A    I advise him in the positive.

  22    Q    What other topics were discussed between you and

  23    he in the telephone conversation on the 27th?

  24    A    Mr. Martin advised that he had two or three new

  25    individuals I had not seen that he wanted me to take a

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.654 Filed 12/22/10 39
                                                                   Page 39 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    look at prior to the home invasion that would be

   2    assisting in the home invasion.

   3    Q    Did you and he make any plan about how you would

   4    accomplish that; either be introduced to those people

   5    or be able to see what they looked like?

   6    A    Yes.    We would have a meet prior to, to

   7    conducting the home invasion, so all members of his

   8    crew could get a visual of my face and know who I was.

   9    Q    Did you and he discuss where that meeting would

  10    take place?

  11    A    Not in that telephone conversation.         We did

  12    discuss it be up in the Brightmoor area of Detroit.

  13    Q    That section of the city?

  14    A    Yes, sir.

  15    Q    Was there any discussion between you and Mr.

  16    Martin during that telephone call about the use of

  17    cell phones or how you would stay in touch with each

  18    other?

  19    A    Yes, there was.

  20    Q    What was the nature of that discussion?

  21    A    Mr. Martin expressed concerns on his cellular

  22    telephone being able to be tracked back from contact,

  23    contact with my cellular telephone.

  24    Q    Was -- were you and he still communicating using

  25    the same telephone numbers you had exchanged during

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.655 Filed 12/22/10 40
                                                                   Page 40 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    one of your earlier meetings?

   2    A    Yes, we were.

   3    Q    And did you and he -- excuse me.

   4         Did you record the conversation on the 27th of May

   5    when he called you?

   6    A    Yes, I did.

   7    Q    Were there subsequent conversations throughout

   8    the day between you and Mr. Martin?

   9    A    Yes, there was.

  10    Q    And were those conversations of any length or

  11    were they brief in time?      Or tell us about those.

  12    A    The later conversations were concerning Mr.

  13    Martin meeting at a predetermined location in the city

  14    to meet prior to the home invasion.

  15    Q    So were they conversations about where are you,

  16    what time are you going to arrive or were they content

  17    based?   Were you discussing the event itself?

  18    A    The majority of the recordings were concerning

  19    where Mr. Martin was and discussing him waiting on his

  20    members of his home invasion crew to arrive so he

  21    could come meet me.

  22    Q    Take a look at the exhibits in front of you

  23    marked 4 and 4A.

  24         Identify those two items, if you would.

  25    A    Exhibit 4 and 4A are the actual undercover

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.656 Filed 12/22/10 41
                                                                   Page 41 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    meeting with Demondre Martin and his crew.(sic)

   2    Q    So there was a time that you and Mr. Martin

   3    ultimately met.     Is that correct?

   4    A    Yes, there was.

   5         THE COURT:     Are these video and audio or --

   6         THE WITNESS:     Yes.   Video and audio, sir.

   7    BY MR. O'BRIEN:

   8    Q    Where did that meeting, excuse me, ultimately

   9    take place?

  10    A    It was on the northeast corner service drive of

  11    96 and Telegraph in a strip mall parking lot.

  12    Q    Did you arrive in separate vehicles or were you

  13    already there and did they arrive?

  14         How did that happen?

  15    A    I arrived first.

  16         And, approximately, 30, four minutes later, Demondre

  17    Martin arrived with three additional members of

  18    individuals in his vehicle.

  19    Q    The three additional individuals that were with

  20    Mr. Martin on that day, had you ever met with any of

  21    those people before or did you recognize any of those

  22    people?

  23    A    No.   I had never seen any of those individuals

  24    prior to that occasion.

  25    Q    The individual that you had been introduced to at

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.657 Filed 12/22/10 42
                                                                   Page 42 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    the restaurant on March 25th there?

   2    A    No, he was not.

   3         THE COURT:     Were you with anybody?

   4         THE WITNESS:     No, I was not.

   5         THE COURT:     You weren't with the C.I?

   6         THE WITNESS:     No, sir.

   7    BY MR. O'BRIEN:

   8    Q    Were there other members of the law enforcement

   9    providing support not obvious to somebody who might

  10    have been watching that meeting?

  11    A    Yes, sir.

  12         There were surveillance members in and around the

  13    parking lot area.

  14    Q    When Mr. Martin in his vehicle arrived, tell us

  15    what happened then.

  16    A    I made contact with Demondre Martin and expressed

  17    the desire to speak with the other occupants of the

  18    vehicle.

  19    Q    How did you -- how was it you made contact with

  20    Mr. Martin; in phone or in person face to face?

  21    A    I exited my vehicle and approached his vehicle

  22    and spoke with Demondre Martin.

  23    Q    Was he inside or outside at that time?

  24    A    He was getting out of his car as I was

  25    approaching his vehicle.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.658 Filed 12/22/10 43
                                                                   Page 43 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    Q    Did you and Mr. Martin discuss your interest in

   2    meeting the other people with him?

   3    A    Yes.    I expressed concerns on them not speaking

   4    to them, due to the fact that I felt we needed to

   5    discuss the details of the home invasion.

   6    Q    How did he respond to that?

   7    A    He advised that the individuals were spooked on

   8    meeting a new person, but he was able to contact them

   9    via cell phone.

  10         And Demondre Patrick and Michael Davis exited the

  11    vehicle.    And I made contact with them.

  12    Q    So he called from where he was standing, just

  13    back to the car he had driven in?

  14    A    Yes, sir.

  15         THE COURT:     Were they all in the same car?

  16         THE WITNESS:     Yes, sir.

  17    BY MR. O'BRIEN:

  18    Q    Mr. Davis and Mr. Patrick, were you able to see

  19    their face at that time, have a conversation with

  20    them?

  21    A    Yes, I was.

  22    Q    Would you recognize them if you were to see them

  23    in court?

  24    A    Yes, I can.

  25    Q    Are they in court today?

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.659 Filed 12/22/10 44
                                                                   Page 44 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    A    Yes.

   2    Q    Identify where they're seated and how they're

   3    dressed.

   4    A    Deaunte Patrick is the individual in the yellow

   5    jumpsuit on the left side of the table facing me.

   6         Michael Davis is the individual in the green

   7    jumpsuit sitting at the defense table.

   8    Q    You said there was a fourth individual who

   9    remained in the car?

  10    A    Yes, there was.

  11    Q    When those -- when Mr. Davis and Mr. Patrick got

  12    out of the car, did you have a conversation with them?

  13    A    Yes, I did.

  14    Q    What was the nature of that conversation?

  15    A    We had initial discussions on if they would be

  16    following me into the residence when I arrived to pick

  17    up the shipment to conduct the home invasion.

  18    Q    During the course of your conversation with those

  19    two men, did you come to any conclusion about whether

  20    or not they understood why they were there or did they

  21    voice to you their knowledge of what the purpose of

  22    this meeting was about?

  23    A    Yes.    They advised that they didn't -- due to the

  24    situation, they wanted to observe the situation and

  25    make sure that nothing went poorly or put anybody in

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.660 Filed 12/22/10 45
                                                                   Page 45 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    jeopardy.

   2         They advised that -- when I say "they," Michael

   3    Davis advised that if he felt or they felt that something

   4    bad would go wrong, they would wait and allow me to leave

   5    the location and do it the next time a shipment came in.

   6    Q    Mr. Davis and you discuss whether or not he had

   7    any experience in what was planned for later that

   8    evening?

   9    A    Yes.    He said he advised that these were the

  10    kinds of things they do when they know what they're

  11    talking about.    They'd know if, if the home invasion

  12    would go properly.

  13    Q    How about conversations with Mr. Patrick?

  14         What information, if any, did he provide you about

  15    himself or whether or not he understood why they were

  16    there?

  17    A    Mr. Patrick had observed the conversation and had

  18    showed disinterest in leaving the location when I

  19    advised leaving the location to a separate meet

  20    location.

  21    Q    Tell us about that.

  22         Why is it that -- was there some part of the plan

  23    that you would all leave that location and go somewhere

  24    else?

  25    A    Yes.    We had had a location set aside to travel

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.661 Filed 12/22/10 46
                                                                   Page 46 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    to that we felt if any -- if any.

   2         MR. MAGIDSON:     Objection, Your Honor.      He's talking

   3    about we.

   4         THE COURT:     Can you be more specific?

   5         THE WITNESS:     I apologize, Your Honor.       ATF.

   6         ATF had set aside a second area location to take

   7    the individuals to, to travel to, that we felt would be

   8    safer for the public if, if any, anything bad happened

   9    during the take down or arrest of the individuals.

  10    BY MR. O'BRIEN:

  11    Q    Why was that a concern?

  12         Why was that a concern about public safety or if

  13    any arrest was going to be effectuated at that location,

  14    why it might be dangerous?

  15    A    Due to the fact there we believed there might be

  16    multiple firearms in the car, that these individuals

  17    would be conducting a armed home invasion on a

  18    narcotics stash house, that we had concerns of them

  19    attempting to utilize the firearms when they were to

  20    be arrested.

  21    Q    During the course of your conversations with the

  22    three people who had gotten out of the car, did you --

  23    was there any discussion between you and anybody in

  24    particular or the group about firearms being involved?

  25    A    Yes.    I advised -- I discussed concerns with

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.662 Filed 12/22/10 47
                                                                   Page 47 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    Demondre Martin, Deaunte Patrick and Michael Davis

   2    about staying in the parking lot location when they

   3    were strapped up or had firearms on their persons.

   4    Q    And did they deny that they were in possession of

   5    any firearms or did they indicate to you that that was

   6    something you shouldn't be worried about?

   7    A    Michael Davis said at a later -- several minutes

   8    following that conversation, that they were not --

   9    that they were not dirty.

  10         But no discussions of firearms were discussed.

  11    Q    What do you understand "dirty" to mean?

  12    A    When an individual says that "they're dirty" or

  13    "they're riding dirty", it might mean they have

  14    something illegal on their person.

  15    Q    There's this fourth individual in the car.

  16         Did you ever have any conversation with that person

  17    at all or did that person remain in the car the entire

  18    time?

  19    A    Yes.    He exited the vehicle and approached one of

  20    the other members to borrow a cellular telephone when

  21    I spoke with him.

  22    Q    And who was that individual?

  23    A    Elrico Welch.

  24    Q    And would you recognize Mr. Welch if you ever saw

  25    him again?

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.663 Filed 12/22/10 48
                                                                   Page 48 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    A      Yes.   He's the individual sitting on the corner

   2    here in the plaid shirt.

   3    Q      What conversation did you have with Mr. Welch, if

   4    any?

   5    A      I questioned if he was okay with the situation.

   6           And he advised that he was, he was okay.

   7           Those were his people.     He was up with whatever they

   8    were okay with.

   9    Q      During the course of your conversation with

  10    Mr. Welch --

  11           THE COURT:   You said he was up with it. Okay,

  12    meaning he agreed to it?

  13           THE WITNESS:   He agreed to it.     Yes, Your Honor.

  14    BY MR. O'BRIEN:

  15    Q      Was he otherwise talking to anybody else or was

  16    he using the cell phone?

  17    A      He was speaking on his cell phone.

  18           Following that interaction, he walked away and was

  19    speaking on his cell phone for the remainder of the

  20    meeting.

  21    Q      At some point while you're all in this parking

  22    lot, what was the catalyst that was supposed to get

  23    you out of there?

  24    A      The, the main desire was to travel to a new

  25    location that we felt was a safer arrest location.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.664 Filed 12/22/10 49
                                                                   Page 49 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1         But if that did not happen, I was to leave the area

   2    and allow the arrest crew to arrest the individuals.

   3    Q    And, ultimately, did it ultimately come to the

   4    point where you left that area?

   5    A    Yes, I discussed leaving the location.

   6         And prior to leaving, they advised that they were

   7    willing to travel with me.

   8         THE COURT:     Travel with you in your car or?

   9         THE WITNESS:     In their car.     They would follow me

  10    to the secondary location.

  11    BY MR. O'BRIEN:

  12    Q    Did you leave the location at that point?

  13    A    Yes, I did.

  14    Q    And did they, in fact, follow you?

  15    A    Yes.    They started to follow me, then turned off.

  16    Q    Once they had turned off, did you take any action

  17    to alert the other members of law enforcement who were

  18    backing you up on that day?

  19    A    Yes.    I contacted the on-scene commanders and

  20    advised the individuals for whatever reason decided

  21    not to follow me away.      And I believed there were

  22    firearms in the vehicle.

  23    Q    Once that information was provided to the

  24    on-the-scene commanders, were you responsible for

  25    trying to either detain that vehicle or get in contact

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.665 Filed 12/22/10 50
                                                                   Page 50 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    again that evening?

   2    A    No, I was not.

   3    Q    Is that left to other members of the team who

   4    were conducting surveillance?

   5    A    Yes, it would be.

   6    Q    Were you responsible for, ultimately, the car

   7    being stopped or any search of that vehicle that was

   8    conducted?

   9    A    No, I was not.

  10    Q    The information that you were discussing over the

  11    past few moments --

  12         THE COURT:     Let me ask you a question.

  13         At the point that you left and then peeled off, had

  14    you told any of them, Mr. Martin, Mr. Welch, any of

  15    them, what the target house was or where it was?

  16         Had you given them the address, for instance?

  17         THE WITNESS:     No, sir.    We -- I did not supply an

  18    address due to the fear that individuals might attempt

  19    to rob the house prior to the location.         So I did not

  20    supply it, an actual address to them.

  21         I advised that it would be in the

  22    Warrendale-Brightmoor area, which is on the west side of

  23    the city.

  24    BY MR. O'BRIEN:

  25    Q    The vehicle that you were driving that day, was

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.666 Filed 12/22/10 51
                                                                   Page 51 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    it outfitted with a recording equipment?

   2    A    I had recording equipment on my person.

   3    Q    Oh, okay.    So you had either a camera or

   4    microphone that you were wearing?

   5    A    Yes, I did.

   6    Q    Was it audio or video recording equipment?

   7    A    It was both.

   8    Q    And the audio/video recording equipment, that's

   9    the equipment that created Exhibit 4?

  10    A    Yes, it was.

  11    Q    And, subsequently, 4A is the transcript you

  12    prepared from that audio/video recording?

  13    A    Yes, I did.

  14         MR. O'BRIEN:     If I may have a minute, judge?

  15         (A discussion was held off the record)

  16    BY MR. O'BRIEN:

  17    Q    At some point during this conversation in the

  18    parking lot, did any of the people who came in Mr.

  19    Martin's car leave that area?

  20    A    Yes, they did.

  21    Q    Where did they go?

  22    A    Michael Davis and Deaunte Patrick went into a

  23    liquor/wine store that was located in the strip mall

  24    of the parking lot.

  25    Q    How long were they gone, if you know?

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.667 Filed 12/22/10 52
                                                                   Page 52 of 115

            Richard Jury-Direct Examination/Mr. O'Brien
                             12-13-2010
   1    A    Approximately, five minutes.

   2    Q    When they returned from that liquor store, did

   3    they have anything with them?

   4    A    Michael Davis was carrying a blue plastic bag.

   5    Q    Did it appear they had purchased something inside

   6    that liquor store?

   7    A    Yes, they did.

   8    Q    They didn't show you what they had bought?

   9    A    No, sir.

  10         MR. O'BRIEN:     I don't have any other questions

  11    Thank you, Judge.

  12         THE COURT:     This was the store in the strip mall --

  13         MR. O'BRIEN:     I'm sorry?

  14         THE COURT:     -- at 96 and Telegraph?

  15         THE WITNESS:     Yes, Your Honor.

  16         MR. O'BRIEN:     I think Agent Jury has identified

  17    each of -- all of the exhibits 1-5, as well as 1A

  18    through 5A.

  19         I move for their admission.

  20         THE COURT:     Any objection to admitting the

  21    exhibits?

  22         MR. MAGIDSON:     No objection.

  23         THE COURT:     Have counsel had an opportunity to

  24    review the tapes and compare the transcript to determine

  25    whether the transcripts accurately reflect the tapes?

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.668 Filed 12/22/10 53
                                                                   Page 53 of 115

            Richard Jury-Cross Exam/Mr. Magidson 12-13-2010

   1          MR. MAGIDSON:    We've been provided all that.        I've

   2    satisfied myself that it seems the ones that I have not

   3    done word for word, but I satisfied myself, there

   4    doesn't seem to be any major discrepancy.

   5          I've discussed this with Mr. Martin as well.

   6          THE COURT:    Okay.   All right.    Cross examination,

   7    Mr. Magidson.

   8                        CROSS EXAMINATION

   9    BY MR. MAGIDSON:

  10    Q     Good afternoon, Agent Jury.       My name is Mark

  11    Magidson.    I represent Mr. Martin.

  12          I'm just going to ask you a few questions this

  13    afternoon, follow up on what you've stated.

  14          If there's anything you don't understand, ask me to

  15    repeat it.    Fair enough?

  16    A     Yes, sir.

  17    Q     I'm going to kind to want to focus back onto that

  18    night, late afternoon.

  19          Was it May 27th that was the -- that was the day of

  20    the purported home invasion.       Is that correct?

  21    A     Yes, sir.

  22    Q     All right.    And you got their first.      Is that

  23    correct?

  24    A     Yes, I did.

  25    Q     And then Mr. Martin was late.       Is that correct?

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.669 Filed 12/22/10 54
                                                                   Page 54 of 115

            Richard Jury-Cross Exam/Mr. Magidson 12-13-2010

   1    A     Yes, he was.

   2    Q     You had to call him a number of times saying

   3    where are you?

   4    A     Yes, sir.

   5    Q     This was the big deal.      He's not showing up, so

   6    you're concerned.     Is that correct?

   7    A     Yes, sir.

   8    Q     Now you said when he finally got there, you

   9    approached his vehicle?

  10    A     Yes, I did.

  11    Q     Did you get a chance to look in the vehicle?

  12    A     No, I did not.

  13    Q     So you had no ability to observe whether there

  14    was any contraband of any nature in the vehicle.

  15    Correct?

  16    A     No.   The only, only items I saw in the vehicle

  17    looked like there was clothing in the backseat of the

  18    vehicle.

  19          THE COURT:    Was he driving the same car, the Ford

  20    Edge, as he had been driving?

  21          THE WITNESS:    No, Your Honor.     He drove a separate

  22    car on the March 25, 2010 meeting in which was a

  23    four-door red Malibu which he arrived in on the

  24    May 27, 2010 incident.

  25

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.670 Filed 12/22/10 55
                                                                   Page 55 of 115

            Richard Jury-Cross Exam/Mr. Magidson 12-13-2010

   1    BY MR. MAGIDSON:

   2    Q      Incidentally, did you ever check to see who that

   3    vehicle was titled to?

   4    A      My co-case agent would have ran that.

   5           I believe -- I don't want to speak out of turn, but

   6    I believe it was Ms. Burton that it was titled to.

   7    Q      So it wasn't his vehicle, correct?

   8    A      No, it was not.

   9    Q      He was driving it, however.      Correct?

  10    A      Yes, he was.

  11    Q      It was titled to some other individuals' name.

  12    Is that correct?

  13    A      Yes, sir.

  14    Q      When you first were approached by your

  15    confidential informant, he gave you two names,

  16    Mr. Pope and Mr. Martin?

  17    A      He gave their street names, which would be -- for

  18    Mr. Pope would be Tony and for Mr. Martin would be

  19    Drè.

  20    Q      Through your investigation, you were able to

  21    deduce who those individuals were?

  22    A      Yes, sir.

  23    Q      I assume you were able to indicate you got state

  24    I.D. or a driver's license?

  25    A      Yes, sir.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.671 Filed 12/22/10 56
                                                                   Page 56 of 115

            Richard Jury-Cross Exam/Mr. Magidson 12-13-2010

   1    Q     You were able to do a criminal history check?

   2    A     Yes, I was.

   3    Q     You found out that Mr. Martin did have a criminal

   4    history.   Is that correct?

   5    A     Yes, I did.

   6    Q     But it's true, none of his criminal history

   7    involved armed robberies, home invasions, things like

   8    that.   Correct?

   9    A     No, it did not.

  10    Q     Now --

  11          THE COURT:    Did it involve firearms?

  12          THE WITNESS:    No, it did not.

  13    BY MR. MAGIDSON:

  14    Q     Now the --

  15          THE WITNESS:    To my knowledge, Your Honor, I'm

  16    not -- his convictions I have not fully gone over what

  17    the original charges were.

  18    BY MR. MAGIDSON:

  19    Q     Nothing stands out where he was convicted of

  20    felony firearm or something or felon in possession or

  21    anything of that or anything involving a weapon?

  22    A     No, sir.

  23    Q     One of his convictions was drugs.        Is that

  24    correct?

  25    A     Yes, sir.    At that present time, it was a pending

                       Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.672 Filed 12/22/10 57
                                                                   Page 57 of 115

            Richard Jury-Cross Exam/Mr. Magidson 12-13-2010

   1    charge.    It was not a conviction.

   2    Q     I understand.

   3          Now the -- you've had -- you had multiple meetings

   4    with Mr. Martin.     Is that correct?

   5    A     Yes.

   6    Q     Did -- you're an experienced agent.

   7          You've had training and so forth on weapons.

   8          Is that correct?

   9    A     Yes, sir.

  10    Q     Did you ever see a firearm on Mr. Martin?

  11    A     No, sir.

  12    Q     Sometimes you could see a bulge in his hip or

  13    pocket or something.     Even though you don't actually

  14    see it, it appears to be a weapon.

  15          Did you note that?

  16    A     No, sir.

  17    Q     When you were having these meetings with him, you

  18    discussed the fact that at some point it came up that

  19    the so-called stash house, this make-believe stash

  20    house, there was people in there guarding it.

  21    Correct?

  22    A     Yes, sir.

  23    Q     And that they were armed with various weapons.

  24    Correct?

  25    A     Yes.   I advised there was an individual I had

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.673 Filed 12/22/10 58
                                                                   Page 58 of 115

            Richard Jury-Cross Exam/Mr. Magidson 12-13-2010

   1    seen in the past on all, all the separate occasions

   2    that I traveled to the house with a shotgun.

   3    Q     Right.    The Mexican with the shotgun?

   4    A     Yes.

   5    Q     All right.    He sits on the couch?

   6    A     Yes.

   7    Q     You don't -- so did you ever discuss -- Mr.

   8    Martin ever discuss with you, well, I guess in order

   9    for us to combat that shotgun, we're going to need our

  10    own sawed-off shotguns; 12-gauge, 16 gauge.

  11          Any of that discussion held?

  12    A     On the March -- during the March 12th as well

  13    these March 25th meetings, he did discuss having to

  14    deal with that individual with the shotgun, yes.

  15    Q     I understand.

  16          But was there any specific firearms mentioned?          I

  17    guess I'm going to need this type of a weapon or

  18    automatic, semi-automatic, machine gun, whatever, AK's.

  19    Anything like that?

  20    A     No, sir.

  21    Q     All general conversation; is that right, sir?

  22    A     Conversation on March 25, 2010, Demondre Martin,

  23    as well as the unknown individual, did discuss having

  24    to -- in effect, if the individual did not give up his

  25    firearm, shoot the individual.

                       Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.674 Filed 12/22/10 59
                                                                   Page 59 of 115

            Richard Jury-Cross Exam/Mr. Magidson 12-13-2010

   1          But as far as firearms, discussing firearms, no.

   2    Q     Talked in general, nothing specific?

   3    A     No, sir.

   4    Q     I'm going to shoot him with my 45.        I'm going to

   5    use my AK.    I'm going to have my M-16.

   6          Nothing like that?

   7    A     No, sir.

   8    Q     Never mentioned he had a specific gun, did he?

   9    A     No, he did not.

  10    Q     Going back to the 27th.

  11          You're in a parking lot there and you are saying,

  12    well, this is a, you know, we're out here in the open.

  13    And you guys are all strapped on or something like that.

  14    Right?

  15    A     Yes.

  16    Q     Moments later, one of the individuals says no, we

  17    ain't dirty.     Correct?

  18    A     Yes.

  19    Q     As you've indicated that is the, I guess the

  20    vernacular to say no or we don't have guns.          Correct?

  21    A     That could be -- discussing what was presently on

  22    them, someone's person, yes.

  23    Q     Okay.   Now just going back a little bit on this.

  24    This -- you were initially contacted by your

  25    confidential informant, Mr. CI-85.        His name's Ortho?

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.675 Filed 12/22/10 60
                                                                   Page 60 of 115

            Richard Jury-Cross Exam/Mr. Magidson 12-13-2010

   1    A     Yes, I was.

   2    Q     He's on your payroll, correct?

   3          When I say "your," I don't mean yours personally.

   4          He's paid.    He's a paid informant?

   5    A     He's paid a subsistence for assisting the

   6    government.    Correct.

   7    Q     He's been paid on this case?

   8    A     Yes, he has.

   9    Q     Do you know how much he's been paid?

  10    A     I don't know that off the top of my head, no.

  11    Q     Do you oversee his vouchers?

  12    A     Yes, I do.

  13    Q     Do you know how much -- how much he's submitted

  14    to you?

  15    A     I'm sorry?

  16    Q     What was -- do you know how many hours he's put

  17    in?

  18    A     He doesn't get to put in paid for hours,

  19    counselor.

  20          It's based off actions that had been done for the

  21    government as well as time and information provided.

  22    Q     Okay.

  23    A     And, no, I do not know what the total amount was.

  24    Q     All right.    It appears he's been paid around

  25    $6,000.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.676 Filed 12/22/10 61
                                                                   Page 61 of 115

            Richard Jury-Cross Exam/Mr. Magidson 12-13-2010

   1          Would that be higher or lower; do you have any

   2    idea?

   3    A     I would -- I would not know for this particular

   4    case how much he was paid, sir.

   5    Q     He has a rather lengthy criminal history himself;

   6    isn't that right?

   7    A     No.   I don't believe that that would be correct,

   8    in my opinion.

   9    Q     Well, he did have resisting and obstruction of an

  10    officer out of Dearborn 1994, did he not?

  11    A     I don't know his complete criminal history

  12    offhand, counselor.     I'd have to review it.

  13    Q     That's not a concern of yours?

  14    A     Absolutely it is a concern, yes.

  15    Q     Okay.   Would you know if he was found guilty of a

  16    larceny from a person out of Dearborn in February of

  17    1999?

  18    A     I would have to review his criminal history.

  19    Q     Okay.   How about -- do you know anything about

  20    him being convicted of domestic violence out of

  21    Dearborn in 1999?

  22    A     I would have to review his criminal history,

  23    counselor.    I can't speak offhand without looking at

  24    his criminal history.

  25    Q     Do you know if he had a drinking problem that --

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.677 Filed 12/22/10 62
                                                                   Page 62 of 115

            Richard Jury-Cross Exam/Mr. Magidson 12-13-2010

   1    did he drink on the job with you?

   2    A     No, he did not drink on the job with me.

   3    Q     Did you know or were you aware of the -- that he

   4    was found guilty of impaired driving out of Garden

   5    City in July of 2000?

   6    A     I can't say for sure what he was convicted of

   7    offhand.

   8    Q     And in 2004, did you know he was convicted of

   9    possession of a dangerous device on July 7, 2004 out

  10    of Dearborn, once again?

  11          MR. O'BRIEN:    Your Honor, I think Agent Jury can't

  12    answer.    Mr. Martin can go through every conviction.         He

  13    doesn't know.

  14          THE COURT:    Well, let's hear from Agent Jury.

  15          MR. MAGIDSON:    He might know, judge.

  16    BY MR. MAGIDSON:

  17    Q     How about when he was convicted in Dearborn

  18    Heights operating in violation of a restricted

  19    license?

  20          You don't know anything about that?

  21    A     No, counsel.    I don't want to agree to a

  22    particular charge.     I don't know the specifics of it

  23    or years that you're stating.

  24    Q     Finally, in 2007, apparently was found guilty of

  25    uttering and publishing.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.678 Filed 12/22/10 63
                                                                   Page 63 of 115

            Richard Jury-Cross Exam/Mr. Magidson 12-13-2010

   1          Were you aware of that?

   2    A     Counsel, I can't speak a hundred percent to any,

   3    anything you're reading right now without visibly

   4    looking at his criminal history.

   5    Q     Okay.   Appears to be another count of operating

   6    while intoxicated out of Dearborn in -- looks like

   7    2010 in April, April 21, 2010, right around the time

   8    you were doing this.

   9          Did you know that?

  10    A     No, I did not, not without reviewing the criminal

  11    history.

  12    Q     Okay.   Now at any rate, he comes to you and says

  13    that Tony is trying to find somebody to do a home

  14    invasion.     Is that how it comes about?

  15    A     He contacted me and advised that this individual

  16    did advise him he was interested in doing a home

  17    invasion of a narcotics stash house, yes.

  18    Q     And you said, well, you know, explore it further

  19    or, you know, find out what's going on.         Words to that

  20    affect?

  21    A     I advised him if he was, to keep in contact with

  22    Mr. Pope to see if he was serious about conducting the

  23    armed home invasion before we looked into it, yes.

  24    Q     Rob gets paid by the job, by the amount of

  25    information, correct?

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.679 Filed 12/22/10 64
                                                                   Page 64 of 115

            Richard Jury-Cross Exam/Mr. Magidson 12-13-2010

   1          He doesn't get paid by the hours?

   2    A     I'm sorry?

   3    Q     He doesn't get paid by the hour, he gets paid

   4    by --

   5    A     Yes.   For the work or information he provides.

   6    Q     For the business he brings to you, more or less?

   7    A     Yes.

   8    Q     So he then goes back to Mr. Tony and has further

   9    conversations; is that correct?

  10    A     I advised if he came back in contact with

  11    Mr. Pope, to contact me and let me know if there was

  12    further conversation concerning a home invasion.

  13    Q     At some point, Mr. Pope or some, somehow, the

  14    confidential informant gets a hold of a number for

  15    Mr. Martin; is that correct?

  16    A     Yes, sir.

  17    Q     And at that point, you advise him to contact,

  18    make contact with Mr. Martin to see if they're

  19    serious?

  20    A     When he initially contacted me, he said that

  21    there was an individual that Mr. Patrick wanted him to

  22    contact to get ahold of.

  23          And he, he advised he would contact Mr. Martin to

  24    see if he was interested.

  25    Q     Did he mention to you that he, in fact, he and

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.680 Filed 12/22/10 65
                                                                   Page 65 of 115

            Richard Jury-Cross Exam/Mr. Magidson 12-13-2010

   1    Mr. Martin, known as Drè I guess on the street, had a

   2    meeting over at Honest John's Bar?

   3          Did he mention that?

   4    A     He advised that he met with him and in the

   5    central area of Detroit.

   6    Q     Do you know Honest John's Bar to be in the

   7    central area of Detroit?

   8    A     Honest John's is just outside of the downtown

   9    area.

  10    Q     So a little bit north of the downtown sort of

  11    midtown area?

  12    A     Yes.

  13    Q     The C.I. was known as Rob is that correct?

  14    A     Yes.

  15    Q     And did he discuss with you, later, the general

  16    contents of the conversation that he had with Mr.

  17    Martin?

  18    A     He -- yes, he did.

  19    Q     And at least in one of the conversations -- do

  20    you know if he had multiple conversations with him,

  21    with Martin?

  22    A     I believe that his initial contact was by phone

  23    and they met in person.

  24    Q     Right.    And was it true that you had told the

  25    confidential informant basically what a plan would be?

                       Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.681 Filed 12/22/10 66
                                                                   Page 66 of 115

            Richard Jury-Cross Exam/Mr. Magidson 12-13-2010

   1          In other words, that plan's going to be to rob this

   2    fictitious stash house, that you were going to be a

   3    disgruntled courier for the big guys.         And they'd been

   4    ripping you off, something like that?

   5    A     Yeah.    I had advised that -- I advised the

   6    informant that he knew possibly of an individual that

   7    had a narcotics stash house that could be robbed.

   8    Q     Right.    And, in fact, what Rob or CI-85 had told

   9    Mr. Martin was that this, this stash house -- you had

  10    a key for it and it was just -- all you had to do is

  11    go in, grab the stuff and get out, basically.

  12          Wasn't that the deal?

  13    A     No, that was not the deal.

  14    Q     Well, but there was something that you were upset

  15    about with, with Rob.

  16          Rob or CI-85 had told Mr. Martin; isn't that

  17    correct?

  18    A     Mr. Martin, when I spoke to him on -- it would be

  19    April or disregard that, March 22nd, advised that the,

  20    the information that Rob initially had given him was

  21    slightly different.     But he was cool with the

  22    information.

  23          I apologize, Your Honor.      He was fine with the

  24    information that I had provided for him on

  25    March 12, 2010.

                       Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.682 Filed 12/22/10 67
                                                                   Page 67 of 115

            Richard Jury-Cross Exam/Mr. Magidson 12-13-2010

   1    Q     But you were kind of mad.      You pretended to be

   2    kind of mad at Rob.     You were talking to Martin.

   3          You said, quote:

   4          I'm being straight with you after the shit

   5          Rob pulled running his fucking mouth.

   6          You were mad at him that he ran his mouth about a

   7    different plan; isn't that right?

   8    A     I was cutting -- I was cutting the informant out

   9    of the meetings in furtherance of any further meetings

  10    that we would have.

  11    Q     Right.    Because you had found out what Mr. Martin

  12    had told you is that, you know, that the initial plan

  13    was that there was not -- this was an unguarded house

  14    where, basically, he had -- all he had to do --

  15    because these were houses where -- these big guys, the

  16    big drug dealers, they knew realtors, they knew

  17    abandon houses or empty houses.       They stashed their

  18    drugs in an empty house.

  19          You had the keys or somebody had the keys to these

  20    houses?

  21    A     I never provided any of that information to Mr.

  22    Martin.   That was not the -- that was not what we

  23    discussed on my initial meeting.

  24    Q     I understand.

  25          But what he conveyed to you -- that's what Rob,

                       Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.683 Filed 12/22/10 68
                                                                   Page 68 of 115

            Richard Jury-Cross Exam/Mr. Magidson 12-13-2010

   1    your confidential informant, had told him?

   2    A     Mr. Martin did not get into the entirety of what

   3    was discussed between the informant and himself.

   4    Q     But he told you enough to know that there was

   5    no -- there was not going to be any gun play.

   6          There was no armed -- initially, at the very

   7    beginning, there was going to be no guards at this

   8    place.

   9          This was just stacks of bricks sitting in a drug

  10    house.    That it was not guarded.

  11    A     He discussed with me that it was the situation

  12    that I explained was more serious then what he

  13    initially had heard from the informant.

  14    Q     What he initially heard from the informant was

  15    that this was an empty house full of drugs and he had

  16    a key to go in.

  17          And you said, no.     Rob had it wrong.     You were mad

  18    at Rob?

  19    A     I explained to him based off the first

  20    conversation I had with him on March 12, 2010, as far

  21    as a further meetings, what the actual situation was.

  22    Anything that was told him by the informant would be

  23    inaccurate.

  24    Q     Right.    This was after he had met with you,

  25    correct?

                       Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.684 Filed 12/22/10 69
                                                                   Page 69 of 115

            Richard Jury-Cross Exam/Mr. Magidson 12-13-2010

   1    A     I'm sorry?

   2    Q     Now's he's meeting with you?

   3    A     Yeah.    March 12, 2010, yes.

   4    Q     Right.    So Rob had initially told him something.

   5          And then the next step is the meeting with you,

   6    correct?

   7    A     Yes.

   8    Q     All right.    So whatever Rob had told him

   9    convinced him to meet with you, correct?

  10    A     Whatever -- the discussion, the initial

  11    discussion of home invasion is what led to our

  12    meeting, yes.

  13    Q     Okay.    That was March 12th?

  14    A     Yes, it was.

  15    Q     And he discusses -- then you discuss, well,

  16    there's this, this Mexican with a shotgun.         There's

  17    these other guys that might be armed.

  18          This is where it comes up; is that correct?

  19    A     Initial meeting with Martin, yes, is what we

  20    discussed.     The home invasion, yes.

  21    Q     Then he says at one occasion there he says, well,

  22    there might have to be some shooting.

  23          He only mentions it once, correct?

  24    A     I'd have to review the transcripts, but I know it

  25    was discussed at least once --

                       Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.685 Filed 12/22/10 70
                                                                   Page 70 of 115

            Richard Jury-Cross Exam/Mr. Magidson 12-13-2010

   1    Q     Okay.

   2    A     -- during that first meeting.

   3    Q     All right.    Now the second meeting where somebody

   4    who is not Winans shows up.       Correct?

   5    A     Yes.

   6    Q     And isn't it true that the person who was not

   7    Winans, but you thought was Winans basically is

   8    conducting the interview of you.        Correct?

   9    A     (No response)

  10    Q     He's trying to determine what the plan is.

  11    A     He -- this individual is known as Demondre Martin

  12    was discussing the plans.

  13    Q     You started all over again.

  14          You have to explain everything.        It's like he never

  15    heard it before from Martin.

  16    A     No.    That's inaccurate.

  17          During the initial meeting, Demondre Martin explains

  18    to me he already discussed it with him.

  19          He mentions multiple things, including the

  20    individual with the shotgun in the residence as well as

  21    the quantities of kilograms of cocaine that would be

  22    present at the location.

  23    Q     And Mr. Martin at some point concludes, referring

  24    to the -- referring to the person you believe to be

  25    Winans, this guy knows his stuff.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.686 Filed 12/22/10 71
                                                                   Page 71 of 115

            Richard Jury-Cross Exam/Mr. Magidson 12-13-2010

   1           He's referring to him.     This is Winans.     He knows

   2    what he's doing.     Right?

   3    A      Winans was never used.     He did advise that that

   4    individual -- that's what he does for a living.

   5    Q      That's what he does.    Right.    Okay.

   6           But he's not at the -- now is the big day, the day

   7    of the home invasion.

   8           Mr. Big is about to call you and the delivery's

   9    about to be made.

  10           And here Mr -- not Winans, is not present in the

  11    car.    Correct?

  12    A      That's correct.

  13    Q      In fact, didn't that seem a little unusual for

  14    you?    This is one of the main guys, now he's not

  15    there?

  16    A      The telephone conversation I had earlier in the

  17    day, he discussed bringing three new individuals as

  18    well as what their plans were to do during the home

  19    invasion.

  20    Q      So you're at that location and you're trying to

  21    get them to go to this garage area where the arrest

  22    would be able more easier to be accommodated.

  23           And you finally talk them into going; is that

  24    correct?

  25    A      I believe I had, yes.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.687 Filed 12/22/10 72
                                                                   Page 72 of 115

            Richard Jury-Cross Exam/Mr. Magidson 12-13-2010

   1    Q     And then you depart the parking lot.

   2          And now as you said this is on the corner of the

   3    service drive and Telegraph and service drive of 96?

   4    A     Yes.    That's correct, northeast corner.

   5    Q     Northeast corner.      So you would be heading -- you

   6    pull out of the parking lot.

   7          I guess there's only one you can travel.         Because

   8    isn't it true that at that point you exit on to

   9    Telegraph, correct?

  10    A     Yes.

  11    Q     And Telegraph is -- that's under the -- near

  12    where the overpass is or underpass is?

  13    A     Yes.    That's correct.

  14    Q     You can only pull out of it one way?

  15    A     Yes, sir.

  16    Q     You'd have to travel in a northerly direction?

  17    A     No.    You can exit out of the south side of the

  18    parking lot to go west on the service drive.

  19    Q     If you're going to exit out on to Telegraph, you

  20    can only go north at that location?

  21    A     If you were to go northbound on Telegraph, yes,

  22    that's the only way you could go.

  23    Q     Right.    And so you had you head north?

  24          THE COURT:    I'm sorry.    You head what?

  25          MR. MAGIDSON:    Ha?

                       Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.688 Filed 12/22/10 73
                                                                   Page 73 of 115

            Richard Jury-Cross Exam/Mr. Magidson 12-13-2010

   1          THE COURT:    I didn't hear you.

   2    BY MR. MAGIDSON:

   3    Q     You turned north on to Telegraph?

   4    A     Yes, I turned north on Telegraph.

   5    Q     And you continue on headed, I guess toward Five

   6    Mile or Fenkell, whatever it is?

   7    A     I pulled off a ways down.

   8          And when I pulled out to see if they were following

   9    me, that's when I observed them turning around.

  10    Q     They had followed you initially, but at the first

  11    opportunity they made one of these what they call a

  12    Michigan turn.

  13    A     Michigan turn.

  14    Q     They get in the far left lane.       Then they were

  15    going southbound?

  16    A     Yes.    That's correct.

  17    Q     You were still north of the location?

  18    A     Yeah.   I was north of the location.

  19    Q     Were you able to see them?

  20    A     Spin around.

  21    Q     When they turned around?

  22    A     Yes, I did.

  23    Q     Were you able to -- what time of day or evening

  24    was this?

  25    A     It was, approximately, 7:30.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.689 Filed 12/22/10 74
                                                                   Page 74 of 115

            Richard Jury-Cross Exam/Mr. Magidson 12-13-2010

   1    Q     So it's light?

   2    A     It was still -- during that time of year, it was

   3    still light, yes.

   4    Q     May.    So -- and you observed where the car goes.

   5    When I say "the car" --

   6    A     No.    I observed it go south, do the Michigan turn

   7    around, go southbound.       And I lost sight of them.

   8    Q     You later found out that they turned left, which

   9    would be east on the onto the service drive, then

  10    downtown 96 going east to Detroit?

  11    A     Yes, I was instructed that they had conducted a

  12    traffic stop on 96 itself.       Okay.

  13          THE COURT:    Just so I'm clear.     This is 96, the

  14    Jefferies?

  15          MR. MAGIDSON:    The Jefferies?

  16          THE WITNESS:    Yes, sir.

  17          THE COURT:    So by this time they're east of

  18    Telegraph on 96 and you're still on Telegraph headed

  19    north?

  20          THE WITNESS:    Yes.

  21          THE COURT:    Where was your meet place going to be?

  22          THE WITNESS:    We had gotten an undercover location,

  23    Your Honor, at a north location off of the area of

  24    Fenkell and Telegraph.

  25          THE COURT:    So not very far.

                       Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.690 Filed 12/22/10 75
                                                                   Page 75 of 115

            Richard Jury-Cross Exam/Mr. Magidson 12-13-2010

   1          THE WITNESS:    No, sir.

   2    BY MR. MAGIDSON:

   3    Q     Roughly a mile down the road --

   4    A     Yes.

   5    Q     -- down Telegraph?     Okay.

   6          And so they -- they were on 96.       Ultimately, they

   7    were pulled over near -- Jefferies near Schaefer or --

   8    A     I believe that's accurate.      I wasn't present

   9    during the --

  10    Q     Two miles down the road?

  11    A     That's approximate.     Yes, sir.

  12    Q     Okay.   And you then notified your -- some of the,

  13    the other members of your team to stop them?

  14    A     Yes, I did.

  15    Q     You said to stop them because you believe they're

  16    armed and dangerous or something like that?

  17    A     I advised that I believed there were firearms

  18    located inside the vehicle around the individual's

  19    person.

  20    Q     That belief was based upon not what you saw,

  21    correct?

  22    A     No.

  23    Q     Or not what you were told, correct?

  24    A     Prior -- earlier in the day at, approximately,

  25    12:00 when I had spoken to Demondre Martin, he advised

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.691 Filed 12/22/10 76
                                                                   Page 76 of 115

            Richard Jury-Cross Exam/Mr. Magidson 12-13-2010

   1    that the individuals that would be coming out on the

   2    home invasion did not let anybody live inside the

   3    residence.

   4          And they planned on smoking the individuals when

   5    they were leaving the residence.

   6          So based on that fact, I did believe there were

   7    firearms in the vehicle, yes.

   8    Q     Okay.   Well, but nobody simply said, you know,

   9    we're at the meeting location right there.         You know,

  10    we've got a 45.     We've got a 38.     We've got an AK?

  11    A     No, no specific firearms were discussed, no.

  12    Q     It was -- it was based upon your understanding of

  13    your belief that there's firearms in the vehicle,

  14    correct?

  15    A     Yes.

  16    Q     All right.    Did you have a warrant, an arrest

  17    warrant at any point?

  18    A     We completed arrest warrants upon taking the

  19    individuals into custody, due to the fact we did not

  20    know who was going to be showing up at the location.

  21    Q     I guess my question was, was prior to the

  22    stopping of this vehicle, was there -- did you issue

  23    an arrest warrant?

  24    A     No.

  25    Q     You knew Mr. Martin was going to be there

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.692 Filed 12/22/10 77
                                                                   Page 77 of 115

            Richard Jury-Cross Exam/Mr. Magidson 12-13-2010

   1    probably; is that right?

   2    A     Yes, sir.

   3    Q     In fact, he was there driving a vehicle that at

   4    least wasn't titled to him, but he was driving a

   5    vehicle, correct?

   6    A     Yes.

   7    Q     All right.

   8          Did you get a search warrant for the vehicle once

   9    these gentlemen were apprehended?

  10    A     I don't believe a search warrant was produced,

  11    no.

  12    Q     And, ultimately, the vehicle was -- these

  13    gentleman, as far as you know -- do you ever arrive on

  14    the scene, sir?

  15    A     No, I did not.

  16          I was not present during any of the arrest take down

  17    or search of the vehicle.

  18    Q     But based on what you do know, the vehicle was

  19    stopped by was it Michigan State Police?

  20    A     Yes.   That's correct.

  21    Q     And the -- all four people in the vehicle were

  22    taken out of the vehicle.      Is that correct?

  23    A     Yes.   That's correct.

  24    Q     Would it be the custom and procedure that you

  25    would immediately handcuff them?

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.693 Filed 12/22/10 78
                                                                   Page 78 of 115

            Richard Jury-Cross Exam/Mr. Magidson 12-13-2010

   1    A     I would believe in a position like that yes, it

   2    would be.

   3    Q     Then they would be placed into the various police

   4    cars or what other --

   5    A     Yes.   That's correct.

   6    Q     -- agent's vehicles.     Is that correct?

   7    A     Yes.

   8    Q     And at that point the vehicle that Mr. Martin was

   9    driving, was that taken into custody of the agents?

  10    A     I wasn't present during the take down of that

  11    vehicle, counselor.     I don't know what happened to the

  12    vehicle.

  13    Q     To the best of your knowledge, that vehicle

  14    wasn't left on the side of the road?

  15    A     I believe, due to it being on the expressway, it

  16    was moved from that location, yes.

  17    Q     While it was being moved and until it got to

  18    another safe location, was there ever a search warrant

  19    obtained at any point?

  20    A     Not to my knowledge.

  21          MR. MAGIDSON:    Your Honor, may I have just one

  22    minute?

  23          THE COURT:    Sure.

  24                     (After a short delay,

  25                     the proceedings continued)

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.694 Filed 12/22/10 79
                                                                   Page 79 of 115

            Richard Jury-Cross Exam/Mr. Magidson 12-13-2010

   1    BY MR. MAGIDSON:

   2    Q     Now it's true that when you were departing that

   3    parking lot and then you saw that Mr. Martin went the

   4    other way, turned south, you called him?

   5    A     Yes.

   6    Q     Multiple times?

   7    A     I attempted to contact him to see what he was

   8    doing, where he was going.

   9    Q     Never answered the phone?

  10    A     No.

  11    Q     Maybe called five, six times?

  12    A     I don't believe it was that high.        I believe it

  13    was two or three times.

  14    Q     But he didn't pick up?

  15    A     No, he did not.

  16          MR. MAGIDSON:    Your Honor, will other counsel have

  17    an opportunity to question?

  18          THE COURT:    Limited.

  19          MR. MAGIDSON:    I've nothing further at this time.

  20          THE COURT:    Mr. Schulman?

  21          MR. SCHULMAN:    Thank you.

  22                   CROSS EXAMINATION

  23    BY MR. SCHULMAN:

  24    Q     As relates to Mr. Patrick, your testimony was

  25    prior to May 27th, you had no contact or information

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.695 Filed 12/22/10 80
                                                                   Page 80 of 115

            Richard Jury-Cross Exam/Mr. Schulman 12-13-2010

   1    as relates to him?

   2    A     No.

   3    Q     That's correct?

   4    A     Yes.   That's correct.     I apologize.

   5    Q     Then on May 27th, that was your first contact

   6    with Mr. Patrick?

   7    A     Yes, sir.

   8    Q     Who you've identify today?

   9    A     Yes.

  10    Q     And you testified that someone indicated we're

  11    not dirty or I'm not dirty.       Words "not dirty".

  12          Do you remember those words?

  13    A     Yes.   Michael Davis, I believe, stated that.

  14    Q     Are you sure that was Mr. Davis and not

  15    Mr. Patrick?

  16    A     I would have to review the transcription.

  17    Q     You were videotaping this, correct?

  18    A     Yes, sir.

  19    Q     When you were videotaping, do you remember

  20    Mr. Patrick was -- if you look at the video, he would

  21    be all the way on the left?

  22    A     I believe he was, yes.

  23    Q     Isn't that where that "not dirty" phrase came

  24    from, if you recall?

  25    A     I would have to review the video and

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.696 Filed 12/22/10 81
                                                                   Page 81 of 115

            Richard Jury-Cross Exam/Mr. Schulman 12-13-2010

   1    transcriptions, counsel.      I don't recall.

   2    Q     Now as an experienced agent, on occasion, if you

   3    were to say verify something, would you ask somebody

   4    to say let me see the money.       Let me see the drugs.

   5    Let me see the guns.

   6          That's not unusual, is it?

   7    A     That would be a possibility, yes.

   8    Q     In fact, that's often done by agents to verify

   9    things?

  10    A     It depends on the situation.

  11    Q     Okay.   Do you ever ask to verify firearms?

  12          Say at that May 27th meeting in that parking lot

  13    saying, I want to see you're not dirty.         Can I see some

  14    firearms?     Anything like that?

  15          Do you try to verify?

  16    A     No.   Based -- during that conversation, I did

  17    not -- I did not hear the individuals state that until

  18    after I went back and reviewed the transcripts.

  19    Q     Okay.   So these --

  20          THE COURT:    Are you saying you didn't hear him say

  21    it at the time?

  22          THE WITNESS:    No.   Yes, sir.

  23          I did not hear him state that at the present

  24    location until I went back and reviewed the video.

  25

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.697 Filed 12/22/10 82
                                                                   Page 82 of 115

            Richard Jury-Cross Exam/Mr. Schulman 12-13-2010

   1    BY MR. SCHULMAN:

   2    Q     And the location where you were ultimately to

   3    bring the defendants, that was the suspected -- that

   4    was the drug house, correct?

   5    A     No.   That's not correct.

   6    Q     That was the stop before the drug house?

   7    A     We would take them to a separate location to try

   8    to minimize any kind of potential violence towards

   9    bystanders or citizens in the area.

  10    Q     So we're clear.    It was actually not even getting

  11    to the ultimate place.

  12          You didn't even get to the place before the

  13    ultimate place?

  14    A     No.   We would never take them to an actual

  15    location due to the fact that at that point we would

  16    believe they'd be coming out of their vehicle with

  17    firearms.

  18    Q     But whatever reason, though, my point is, that

  19    you never even got to the first --

  20    A     No.

  21    Q     -- you never even got to the first stop, right?

  22          You never made it to the first place which wasn't

  23    even supposed to be the --

  24    A     The second -- we never made it to the secondary

  25    location.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.698 Filed 12/22/10 83
                                                                   Page 83 of 115

            Richard Jury-Cross Exam/Mr. Schulman 12-13-2010

   1    Q     And you indicated the reason for your contact

   2    with what was ultimately the State Police who made the

   3    stop was your concern for public safety.         Correct?

   4    A     The decision to conduct the traffic stop on the

   5    location was decided by my superiors as well as

   6    on-the-scene commander.

   7    Q     That was direct information from you?

   8    A     Yes.   I advised I believed there was firearms in

   9    the vehicle.

  10    Q     Because they weren't there?

  11    A     I'm sorry?

  12    Q     Those supervisors weren't there.

  13    A     No.

  14    Q     They were relying on your --

  15    A     My information.

  16    Q     You indicated you saw no firearms.        Correct?

  17    A     Yes.   No.

  18    Q     You indicated you saw no narcotics?

  19    A     No.

  20    Q     And, in fact, they had no information of the

  21    ultimately case.     Correct?

  22    A     That is correct.

  23    Q     Did they -- do you have any information that any

  24    of the individuals, including Mr. Patrick, even knew

  25    who these people would be in the car, in the house?

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.699 Filed 12/22/10 84
                                                                   Page 84 of 115

            Richard Jury-Cross Exam/Mr. Schulman 12-13-2010

   1          Do you remember my question?

   2    A     Can you --

   3    Q     If I know- if I know that we're going to, say, to

   4    meet Mr. Jones and I drive away in a different

   5    direction, I still know who Mr. Jones is.

   6          Do you understand in this case, did any of the

   7    defendants know who the individuals were?

   8    A     No, they did not.

   9    Q     But not only did they not have the address or

  10    location, you had no information they even knew

  11    whether they were true or not actual people that were

  12    supposed to be in the house?

  13    A     That would be accurate, yes.

  14          MR. SCHULMAN:     Nothing else.    Thank you.

  15          THE COURT:    Mr. Tholen?

  16          MR. THOLEN:    Yes, Your Honor.

  17                       CROSS EXAMINATION

  18    BY MR. THOLEN:

  19    Q     Good afternoon, Agent Jury.

  20    A     Good afternoon.

  21    Q     With respect to Mr. Welch, it's true you had a

  22    number of telephone conversations with Mr. Martin or

  23    face to face meetings with Mr. Martin prior to

  24    May 27th.    Correct?

  25    A     Yes.   That's correct.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.700 Filed 12/22/10 85
                                                                   Page 85 of 115

            Richard Jury-Cross Exam/Mr. Schulman 12-13-2010

   1    Q     And isn't it true that Mr. Welch was never

   2    present during any of those telephone calls or any of

   3    those physical face to face meetings that you had?

   4    A     That's correct.

   5    Q     Isn't it also true that Mr. Welch was never

   6    mentioned by name as a person that was going to be

   7    involved in as part of Mr. Martin's crew in this

   8    robbery?

   9    A     Until they showed up at the location, that would

  10    be correct.

  11    Q     Okay.   Turning your attention to May 27th.

  12          That was the first time you met Mr. Elrico Welch?

  13    A     Yes.    That's correct.

  14    Q     He was one if the individuals that was in the

  15    vehicle that Mr. Martin drove to your meet spot.

  16    Correct?

  17    A     Yes, he was.

  18    Q     Mr. Martin was the driver -- I call him Mr.

  19    Martin, the vehicle, the red car?

  20    A     Yes.

  21    Q     Mr. Welch was in the backseat, correct?

  22    A     Yes, he was.

  23    Q     Mr. Welch didn't drive the vehicle to that

  24    location?

  25    A     No, he did not.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.701 Filed 12/22/10 86
                                                                   Page 86 of 115

            Richard Jury-Cross Exam/Mr. Schulman 12-13-2010

   1    Q     At that time on the 27th, you first had contact

   2    with Mr. Martin, correct, in the parking lot?

   3    A     I'm sorry.    Can you --

   4    Q     You had -- when Mr. Martin's vehicle shows up at

   5    the meet spot with you, you and Mr. Martin started

   6    having a conversation about this plan that's going to

   7    take place.    Correct?

   8    A     Yes, that's correct.

   9    Q     After sometime, two other individuals kind of

  10    join in in that discussion, correct?

  11    A     Yes.

  12    Q     Mr. Welch was not one of those individuals,

  13    correct?

  14    A     No, he was not.

  15    Q     And you testified that you have a video and audio

  16    recording of your contact with each of these four

  17    gentlemen on the 27th, correct?

  18    A     Yes.   That's correct.

  19    Q     And isn't it true that you also did a -- prepared

  20    a transcript from your listening to the audio

  21    recordings and watching the video recordings, correct?

  22    A     That's correct.

  23    Q     I think you testified -- is it Government's

  24    Exhibits 4 and 4A?

  25    A     Yes.   That would be correct.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.702 Filed 12/22/10 87
                                                                   Page 87 of 115

            Richard Jury-Cross Exam/Mr. Schulman 12-13-2010

   1          MR. THOLEN:    Permission to approach, Your Honor?

   2    BY MR. THOLEN:

   3    Q     Agent Jury, you've reviewed Exhibit 4A, this

   4    transcript, prior to testifying today.         Correct?

   5    A     Yes, I have.

   6    Q     You're pretty familiar with the contents of this

   7    exhibit?

   8    A     It's a decent size.     But, yes, I've got a general

   9    idea of it, yes.

  10    Q     Well, with respect to references to Mr. Welch,

  11    it's rather a limited amount of information, correct?

  12    A     As far as actually speaking to Mr. Welch, yes.

  13    That would be correct.

  14    Q     Well, agent, it's true, this exhibit is,

  15    approximately, seven pages long.        Correct?   Take a

  16    look at it if you want to.

  17                     (After a short delay,

  18                     the proceedings continued)

  19    A     Yes.

  20    Q     Okay.   Isn't it true that Mr. Welch or reference

  21    to him does not appear except for the title caption

  22    until the seventh page of that document?

  23    A     I would have to go back through.

  24    Q     Take your time.    I take that back, agent.

  25          Isn't there notes to him -- it may be three or

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.703 Filed 12/22/10 88
                                                                   Page 88 of 115

            Richard Jury-Cross Exam/Mr. Schulman 12-13-2010

   1    foyer pages in the middle of the page.

   2          There's a reference.     This is in italics and I

   3    quote:

   4          Welch exits the vehicle and approaches Davis.

   5          Is that correct?

   6    A     Yes.

   7    Q     Do you have that in front of you?

   8    A     Yes.    Here we go.

   9    Q     That's the first time that there is -- other than

  10    in the title caption.

  11          But that's the first time there's any reference to

  12    Elrico Welch as far as that occurrence?

  13    A     No.    On the second page, I questioned Demondre

  14    Martin what was the deal with the other individual in

  15    the vehicle.     And Mr. Martin advised he's cool.       He's

  16    cool.

  17    Q     It has no reference to Welch anywhere in that.

  18    Correct?

  19    A     I was referring to Welch when I was talking to

  20    Mr. Martin.

  21    Q     You may have been referring to that, but you --

  22    it certainly doesn't indicate that anywhere in the

  23    transcript.     Correct?

  24    A     No, it does not.

  25    Q     Where you do refer to Mr. Welch is your sole

                       Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.704 Filed 12/22/10 89
                                                                   Page 89 of 115

            Richard Jury-Cross Exam/Mr. Schulman 12-13-2010

   1    statement to him -- and I've drawn your attention to

   2    that part half way down the page in italics:

   3              Welch exits the vehicle and approaches.

   4          The only comment that's made that you attribute

   5    from your transcript by Mr. Welch is, quote:

   6          Yeah, these my brothers.

   7          Whatever they say, I'm on it.

   8          Correct?

   9    A     That's correct.

  10    Q     Doesn't say I'm up, correct?

  11    A     Says I'm on it.     I apologize for that, sir.

  12    Similar expressions.

  13    Q     Sure, agent.    But you indicated that you spent

  14    some time on this investigation.

  15          You reviewed the tapes and, in fact, did a

  16    transcript.    Correct?

  17    A     Yes, I did.

  18    Q     Wouldn't you agree that accuracy is rather

  19    important in this proceeding?

  20    A     Absolutely, counselor.

  21    Q     Don't you strive to be accurate --

  22    A     Yes, I do.

  23    Q     -- transcribing the information on video to

  24    audiotapes?

  25    A     Yes, I do.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.705 Filed 12/22/10 90
                                                                   Page 90 of 115

            Richard Jury-Cross Exam/Mr. Schulman 12-13-2010

   1    Q     It's not -- it's not funny?

   2    A     No.

   3    Q     It's not funny at all?

   4    A     No.

   5    Q     There's no indication in that statement anything

   6    about home invasion.     Correct?

   7    A     No, there's not.

   8    Q     There's no indication about any type of robbery.

   9    Correct?

  10    A     That's correct.

  11    Q     There's no indication about drugs or narcotics.

  12    Correct?

  13    A     No.

  14    Q     There's no indication about any firearms or

  15    weapons.    Correct?

  16    A     No.   That's correct.

  17    Q     That is the sole interaction you had with

  18    Mr. Welch on that occasion.       Correct?

  19    A     That's correct.

  20    Q     In fact, that's the only interaction you had with

  21    Mr. Welch throughout your whole investigation of this

  22    case.   Correct?

  23    A     Correct.

  24    Q     Shortly after that statements made, Mr. Welch --

  25    after he gets a telephone from one of these gentlemen,

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.706 Filed 12/22/10 91
                                                                   Page 91 of 115

            Richard Jury-Cross Exam/Mr. Schulman 12-13-2010

   1    walks away from where you're talking to Mr. Martin and

   2    goes and makes a phone call.       Correct?

   3    A     That's correct.

   4    Q     And that's very obvious on the videotape because

   5    all you see him do is walk away from where you and Mr.

   6    Martin are.

   7          And you see the back of his head as he's pacing

   8    back and forth and talking on a cell phone.          Correct?

   9    A     That's correct.

  10    Q     He is not part of your discussion at that point.

  11    Correct?

  12    A     That's correct.

  13    Q     And he wasn't part of the discussion before he

  14    got out of the car and came up to get that cell phone.

  15    Correct?

  16    A     He would be part of the discussion.

  17          As far as me discussing with these individuals, I

  18    wanted everybody to see my face and know the situation.

  19    Q     Agent, I understand you wanted him to be part of

  20    the discussion.

  21          But the only statement he made is what we just

  22    talked about:

  23          Yeah.   These are my brothers.      I'm up with

  24          it, whatever.

  25          Something to that effect.      Correct?

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.707 Filed 12/22/10 92
                                                                   Page 92 of 115

            Richard Jury-Cross Exam/Mr. Schulman 12-13-2010

   1    A     That's correct.

   2    Q     He didn't say anything more than that, correct?

   3    A     That's correct.

   4    Q     So there was no conversation between you and

   5    Mr. Welch, correct?

   6    A     That's correct.

   7    Q     There's certainly no detailed discussion between

   8    you and Mr. Welch.     Correct?

   9    A     Just the few statements you mentioned.

  10    Q     In fact -- no, no, not a few statements.

  11          In fact, it's one line.      And I'll quote it again.

  12    It's about eight words:

  13          Yeah.   These my brothers.

  14          Whatever they say, I'm on it.

  15          Ten words.    Correct?

  16    A     That's correct.

  17    Q     That's the extent, the full 100 percent statement

  18    that Mr. Welch made.     Correct?

  19    A     That's correct.

  20    Q     Nothing more?

  21    A     No.   No, sir.

  22    Q     Prior to him making that statement, he was not

  23    part of any discussions between you Mr. Martin,

  24    Mr. Patrick or Mr. Davis?

  25          MR. O'BRIEN:     Asked and answered.     Objection.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.708 Filed 12/22/10 93
                                                                   Page 93 of 115

            Richard Jury-Cross Exam/Mr. Schulman 12-13-2010

   1          THE COURT:    Overruled.

   2          THE WITNESS:    I'm sorry.    Can you repeat the

   3    question, please?

   4    BY MR. THOLEN:

   5    Q     Prior to the statement I just read, the ten word

   6    statement, Mr. Welch was not part of the discussion

   7    between yourself, Mr. Martin, Mr. Patrick and Mr.

   8    Davis?

   9    A     Not by name.    No, sir.

  10    Q     He wasn't even physically there.        Correct?

  11    A     I don't know if the discussions I had with Mr.

  12    Martin were referring to him, counselor.

  13          THE COURT:    Mr. Tholen --

  14          MR. THOLEN:    I understand.    If I may, judge?

  15          THE COURT:    -- I'm not sure that I need this to

  16    make a decision on this particular motion.

  17          MR. THOLEN:    Very well, Your Honor.

  18          THE COURT:    It sounds more like trial cross

  19    examination.

  20          MR. THOLEN:    Let me -- give me the liberty for one

  21    follow up question, judge?

  22          THE COURT:    Go ahead.

  23          MR. THOLEN:    Thank you.

  24    BY MR. THOLEN:

  25    Q     What's the total amount of time that you had some

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.709 Filed 12/22/10 94
                                                                   Page 94 of 115

            Richard Jury-Cross Exam/Mr. Schulman 12-13-2010

   1    kind of discussion that Mr. Welch gave that ten word

   2    answer for?

   3          Are we talking 30 seconds, 10 seconds?         A minute?

   4    A     It might have been five, ten seconds, whatever it

   5    took for him to make that statement.

   6    Q     Agent Jury, you were asked the question by my

   7    brother counsel that didn't CI-85 receive

   8    approximately $6,000 from your office or the DOJ.

   9          Do you recall that question?

  10    A     I do, yes.

  11    Q     I think you answered it, that you weren't real

  12    sure about the numbers; that that really wasn't part

  13    of your responsibilities.      Wasn't that right?

  14    A     I wouldn't say that.     I wouldn't say it wasn't

  15    pat of my responsibilities.

  16          I just wasn't -- off the top of my head, I could not

  17    recall how much he was totally paid.

  18    Q     Well, agent, isn't it true in situations where

  19    confidential informants are being paid, that it's very

  20    important that payments made to them are carefully

  21    documented?

  22    A     That's correct.

  23    Q     And, in fact, your office at the Alcohol Tobacco

  24    and Firearms, does that requires reporting an record

  25    keeping of payments made to confidential informants?

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.710 Filed 12/22/10 95
                                                                   Page 95 of 115

            Richard Jury-Cross Exam/Mr. Schulman 12-13-2010

   1    A     That's correct.

   2    Q     And, in fact, weren't those types of records kept

   3    in relation to CI-85?

   4    A     Yes, they were.

   5    Q     In fact, didn't you keep records and submit a six

   6    month report of monies that were paid to CI-85?

   7    A     Yes, I did.

   8    Q     Didn't you submit a report or a memorandum dated

   9    June 25, 2010, indicating that the cumulative amount

  10    of money paid to this informant during the six month

  11    period is $6366.

  12          Does that sound correct?

  13    A     It's a possibility.     I would have to review the

  14    figures.   I did submit a list.

  15    Q     Would it refresh your recollection to see this

  16    memorandum?

  17          THE COURT:    Where are we going with this?

  18          MR. THOLEN:    I think it goes --

  19          THE COURT:    I'm not particularly interested in --

  20    for the purposes of this motion, I'm not particularly

  21    interested in the CI-85, his statements, I can consider

  22    them as part of the setting for the larger context.

  23          But what I'm focused on is the conversations

  24    between Agent Jury and the defendants here and whether

  25    or not those conversations, themselves, provided a basis

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.711 Filed 12/22/10 96
                                                                   Page 96 of 115

           Richard Jury-Cross Exam/Mr. Schulman 12-13-2010

   1    for the stop.

   2         Because anything that CI-85 told Agent Jury about

   3    what they had said or what he told them is hearsay.

   4         And even though I may consider it in the overall

   5    context and his prior convictions and other things such

   6    as this, which have already been brought out might go to

   7    CI-85's credibility, the real issue here is what

   8    probable cause did the agent in question here have to

   9    conduct the stop on March -- on May 27th.

  10         MR. THOLEN:     Understood, Your Honor.

  11         Could I have one moment?

  12         (A discussion was held off the record)

  13         MR. SCHULMAN:     Your Honor, Mr. Patrick has asked to

  14    use the bathroom.     I would waive his appearance.

  15         THE COURT:     Well, I want to get this wound up.

  16    This is taking far too long.

  17         We've been going two hours with a witness that

  18    probably should have been about 20 minutes for the

  19    government and about half an hour all together for all

  20    the defendants.

  21         MR. THOLEN:     No further questions.

  22         THE COURT:     We're getting pretty far afield.

  23         MR. THOLEN:     No further questions.

  24         MS. MANNERINO:     If I might?     I'll be brief.

  25         THE COURT:     Good.   I was about to congratulate Mr.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.712 Filed 12/22/10 97
                                                                   Page 97 of 115

            Richard Jury-Cross Exam/Mr. Schulman 12-13-2010

   1    Tholen being the rare lawyer who says I have one more

   2    question the only asked one.       Then he continued.

   3                       CROSS EXAMINATION

   4    BY MS. MANNERINO:

   5    Q     All right.    Thank you.

   6          Good afternoon. I'm Maria Mannerino.        I represent

   7    Mr. Davis.

   8    A     Good afternoon.

   9    Q     So we're clear, before the 27th of May, you'd

  10    never had any contact with Mr. Davis.         Right?

  11    A     No, ma'am.

  12    Q     Never heard his name?

  13    A     No, ma'am.

  14    Q     He'd never been brought up in conversation by

  15    nickname or any other way.       Is that correct?

  16    A     No, not --

  17    Q     The first time you've seen Mr. Davis is on the

  18    27th at the -- in this parking lot.        Correct?

  19    A     Yes.    That's correct.

  20    Q     And you've indicated that your purpose for that

  21    meeting, in your mind, you wanted the people who were

  22    part of what was described as the crew to see your

  23    face.

  24    A     Yes.    That's correct.

  25    Q     Okay.   But the people who came there, they had a

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.713 Filed 12/22/10 98
                                                                   Page 98 of 115

            Richard Jury-Cross Exam/Ms. Mannerino 12-13-2010

   1    purpose also.     Is that correct?

   2    A     Yes.

   3    Q     They wanted to find out what you had to say.

   4    Isn't that right?

   5    A     I can't speak for what they're actions were.

   6    Q     Well, I mean doesn't Mr. Davis say to you a

   7    number of times during that meeting, what's your plan?

   8    What's your plan?

   9    A     Yes, he does.

  10    Q     Okay.    And your purpose, also at that meeting,

  11    was to get them to leave that location and go to

  12    another location.     Correct?

  13    A     Yes.    That's correct.

  14    Q     They did not want to do that.       Is that correct?

  15    A     Yes.    Michael Davis and Deaunte Patrick did not

  16    seem inclined to leave that location.

  17    Q     Mr. Davis was not inclined to leave that location

  18    at all.   Is that correct?

  19    A     That would be correct.

  20    Q     As a matter of fact, the last thing Mr. Davis

  21    says to you is:

  22          I don't see no reason to be in a rush to go

  23          right there.

  24          He's not leaving that location.       He tells you

  25          that, right?

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.714 Filed 12/22/10 99
                                                                   Page 99 of 115

            Richard Jury-Cross Exam/Ms. Mannerino 12-13-2010

   1    A     Yes.   That's correct.

   2    Q     That's the last thing he says to you before he

   3    walks away and goes down to the store, right?

   4    A     That's correct.

   5    Q     He goes into the store.      Right?

   6    A     Yes.

   7    Q     He purchases something, walks out.        Correct?

   8    A     That's correct.

   9    Q     And when he comes out of that store, he goes

  10    back, gets in the car.

  11          He doesn't even come back up to you and say

  12    anything else to you.      Is that correct?

  13    A     That would be correct.

  14    Q     And even after Mr. Davis comes out of the store,

  15    goes, gets in the car, you're still trying to get

  16    those people to leave that location.        Is that right?

  17    A     That's correct.

  18    Q     And you're not convinced they're following you

  19    anywhere, are you?

  20    A     I was convinced when I was leaving the location

  21    that they were following.

  22    Q     Well, because you keep asking.

  23          As a matter of fact, in the three or four or five

  24    pages of the transcript that go on after Mr. Davis goes,

  25    gets in the car, you ask a number of times are you guys

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.715 Filed 12/22/10100
                                                                  Page 100 of 115

            Richard Jury-Cross Exam/Ms. Mannerino 12-13-2010

   1    following me?     Are you following me?

   2          Is that correct?

   3    A     I believe that would be accurate, yes.

   4    Q     As a matter of fact, right before everybody

   5    leaves you say to them:

   6          I mean you guys load up and follow me or what.

   7          Is that what you you say to them?

   8    A     Yes.    I believe that's correct.

   9    Q     I'm sorry.    I'm wrong.    Even after that you say

  10    couple a more times:

  11          You guys coming?     You guys coming, right?

  12    A     Yes.    Prior to leaving the location, I asked if

  13    they were following me.      And Demondre Martin said yes.

  14    Q     The last things you say is:

  15          You know, I'm ready, man.

  16          And according to your transcript, Mr. Martin

  17          says:

  18          I follow you?

  19          And you say, yeah.     Right?

  20          That's the end of the conversation.

  21    A     I believe so.    I'd have to look at the

  22    transcription.

  23    Q     All right.    And then at that point they get into

  24    the car and --

  25    A     They were already in the car.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.716 Filed 12/22/10101
                                                                  Page 101 of 115

            Richard Jury-Cross Exam/Ms. Mannerino 12-13-2010

   1    Q     All right.    They head the other way?

   2    A     They initially followed me out of the parking

   3    lot, then went the other way, yes.

   4    Q     The -- you had originally had a meeting with

   5    somebody that you thought was a person by the name of

   6    Mr. Winans.     Is that right?

   7    A     That's correct.

   8    Q     And you had thought that Mr. Winans was going to

   9    be a part of that.     Is that correct?

  10    A     Yes.

  11    Q     And on the 27th of May, Mr. Winans was not part

  12    of the crew that showed up.       Is that right?

  13    A     That's correct.

  14    Q     Did you ask about that?      Did you ask anybody

  15    where Mr. Winans was?

  16    A     No, I did not question them.

  17    Q     Did you know where Mr. Winans was?

  18    A     No, I did not.

  19    Q     Did you have any inclination, prior to the 27th,

  20    that Mr. Winans wasn't going to be any part of this?

  21    A     No.    I still believed he would have been present

  22    there.

  23    Q     That's what you thought?

  24    A     Yes.

  25    Q     You don't know what Mr. Winans was thinking or

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.717 Filed 12/22/10102
                                                                  Page 102 of 115

            Richard Jury-Cross Exam/Ms. Mannerino 12-13-2010

   1    the person you've identified as Mr. Winans?

   2    A     Yes.   That's correct.

   3    Q     You don't know whether or not Mr. Winans didn't

   4    want any part of your plan?

   5    A     The individuals -- not Mr. Winans.

   6          But the individual I believe was Mr. Winans, yes.

   7    That's correct.

   8    Q     He didn't want any part of your plan.

   9    A     I have no -- I have no idea what occurred with

  10    that situation, counselor.

  11    Q     You didn't ask?

  12    A     No, I did not.

  13    Q     You didn't care why Mr. Winans wasn't part of

  14    this?

  15    A     I'm sorry?

  16    Q     You didn't care why -- the individual who you

  17    identified as Mr. Winans didn't want any part of this?

  18    A     I did care, but I was interacting with the other

  19    individuals who did arrive.

  20          So I did not question Demondre Martin where the

  21    presence of that individual was.

  22          MS. MANNERINO:    So -- strike that.      Nothing

  23    further.

  24          THE COURT:    All right.    Let me ask a few questions

  25    here, if you don't mind, Mr. O'Brien.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.718 Filed 12/22/10103
                                                                  Page 103 of 115


            Richard Jury-Examination/the Court 12-13-2010
   1          MR. O'BRIEN:    Sure.

   2          MR. SCHULMAN:    I'll waive his appearance.

   3                           EXAMINATION

   4          THE COURT:    Can somebody assist Mr. Patrick?

   5          As I understand it, the entire sum and scope of

   6    these transactions went about like this.

   7          You had a C.I. who was paid roughly $6,000 to go

   8    out find people involved in drugs and other -- and

   9    firearms crimes.     Right?

  10          THE WITNESS:    That's correct.

  11          THE COURT:    He comes to you and tells you that he's

  12    got some folks -- after some back and forth with them,

  13    he's got some folks who will do a home invasion, right?

  14          THE WITNESS:    That's correct.

  15          THE COURT:    And, ultimately, he produces Mr.

  16    Martin.

  17          THE WITNESS:    That's correct.

  18          THE COURT:    All right.

  19          When you finally get together with Mr. Martin, you

  20    find out that he, CI-85, had told Mr. Martin, according

  21    to what transpired in your conversation with Mr. Martin,

  22    was that there were going to be some home invasions.

  23          But that Mr. Martin apparently had been led to

  24    believe that the home invasion by CI-85 -- had been lead

  25    to believe the people at the home were not going to have

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.719 Filed 12/22/10104
                                                                  Page 104 of 115


            Richard Jury-Examination/the Court 12-13-2010
   1    any guns initially.

   2          THE WITNESS:    I'm not a hundred percent sure of

   3    what occurred on that.

   4          I believe that based on what Demondre Martin told

   5    me, he believed initially that there was going to be a

   6    stash house that he had a key for.

   7          Whether he believed there's anybody present there,

   8    I don't know.

   9          THE COURT:    A stash house, a key and no guns.

  10          THE WITNESS:    That's a possibility.      Yes, Your

  11    Honor.

  12          THE COURT:    Apparently at some point, particularly

  13    at the March 25th meeting that you had with Mr. Martin,

  14    you disabused him of that idea.       Is that right?

  15          THE WITNESS:    Would be on March 12, 2010 is when we

  16    discussed the presence of firearms at the location.

  17          THE COURT:    Did that happen at the March 12th

  18    meeting or at the March 25th meeting?

  19          THE WITNESS:    It initially was discussed on the

  20    March 12, 2010.     I advised there was an individual with

  21    a shotgun in the residence.

  22          THE COURT:    He did he express surprise?

  23          THE WITNESS:    No, he did not, Your Honor.       He

  24    discussed a possibility of gun smoke due to the presence

  25    of firearms.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.720 Filed 12/22/10105
                                                                  Page 105 of 115


            Richard Jury-Examination/the Court 12-13-2010
   1          THE COURT:    That was the March 12th meeting in

   2    which he said there might be some gun smoke.

   3          THE WITNESS:    Yes.

   4          THE COURT:    That was in response to your telling

   5    him that this wasn't a simply a stash house.

   6          Somebody was going to give you a key.        And there

   7    might be somebody with a shotgun there?

   8          THE WITNESS:    Yes.   I advised there was anywhere

   9    between three to five individuals.        I know one

  10    individuals always had a shotgun at the location.

  11          THE COURT:    Then at the March 25th conversation,

  12    there was an indication that if there were people

  13    guarding the house, it could get dirty or ugly --

  14          THE WITNESS:    Yes, sir.

  15          THE COURT:    -- or bloody --

  16          THE WITNESS:    Yes, Your Honor.

  17          THE COURT:    -- right?

  18          Conversations after that with Mr. Martin, did those

  19    involve firearms?

  20          THE WITNESS:    The conversation on --

  21          THE COURT:    I realize that you said in the parking

  22    lot you said:

  23          Your boys -- talking about sitting there

  24          strapped with burners in this parking lot.

  25          You said that, right?

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.721 Filed 12/22/10106
                                                                  Page 106 of 115


            Richard Jury-Examination/the Court 12-13-2010
   1          THE WITNESS:    That's correct.

   2          THE COURT:    But apparently Mr. Patrick had said

   3    earlier:

   4          We ain't dirty.     We're good.

   5          Whatever that meant.     Right?

   6          THE WITNESS:    That's correct.

   7          THE COURT:    You saw no guns that morning,

   8    afternoon, evening?

   9          THE WITNESS:    That's correct.     Earlier in the -- in

  10    the day at around 12 p.m. I'd spoke with Mr. Martin on

  11    his -- he had contacted me on my cellular telephone,

  12    advised me the individuals he was bringing, one of them

  13    in particular, did not want anybody living.

  14          And he further stated in that conversation that

  15    they were going to smoke the individuals in the house.

  16          THE COURT:    That was May 27th?

  17          THE WITNESS:    Yes, sir.

  18          THE COURT:    Your concern in having them move

  19    locations on May 27th was if you did the take down in

  20    the parking lot off of Telegraph and I-96, that somebody

  21    might get hurt.     The public might get hurt.

  22          THE WITNESS:    Yes, sir.    It's a busy parking lot.

  23          THE COURT:    So you wanted to move the site north to

  24    this area of Telegraph and Fenkell?

  25          THE WITNESS:    Yes, sir.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.722 Filed 12/22/10107
                                                                  Page 107 of 115


            Richard Jury-Examination/the Court 12-13-2010
   1          THE COURT:    Who made the decision to do the stop?

   2          THE WITNESS:    I believe the on sign --

   3    on-the-scene supervisor was a group supervisor.          Sheila

   4    Clifton was on the scene.

   5          THE COURT:    Did she consult with you as to whether

   6    or not they should stop the people?

   7          THE WITNESS:    I was questioned whether or not there

   8    were firearms in the car.

   9          I said I believe there was, based on the

  10    conversation the prior meetings and individuals showing

  11    up at the location.

  12          THE COURT:    At the time, at the time you made the

  13    decision to do the stop, you didn't think they were

  14    still following you, did you?

  15          THE WITNESS:    No.   That that point I attempted to

  16    reach out to him several times.

  17          I saw him spinning around, doing the Michigan left,

  18    heading in the opposite direction.        I did not believe

  19    they were following.

  20          THE COURT:    Also, you were trying to call him.

  21    That's a pretty good sign he's not following you, right?

  22          THE WITNESS:    Yes, sir.

  23          THE COURT:    At the time you made the decision to do

  24    the stop, had the statements of Mr. Martin about the

  25    earlier statements, the March 12 statement and the

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.723 Filed 12/22/10108
                                                                  Page 108 of 115


            Richard Jury-Examination/the Court 12-13-2010
   1    statement earlier May 27th --

   2          THE WITNESS:    Yes.

   3          THE COURT:    -- somebody might get smoked --

   4          THE WITNESS:    Yes, sir.

   5          THE COURT:    -- or words to that affect?

   6          THE WITNESS:    Yes, sir.

   7          THE COURT:    Anything else?    This is what led you to

   8    believe that they might be carrying guns.         Right?

   9          THE WITNESS:    Yes, Your Honor.

  10          Based on the fact that they were -- based on my

  11    belief that they were showing up to go commit an armed

  12    home invasion, that they would be utilizing firearms to

  13    conduct a home invasion.

  14          THE COURT:    You had discussed doing a home invasion

  15    directly with Mr. Martin at this point?

  16          THE WITNESS:    Yes.

  17          THE COURT:    Starting with the March 12 meeting?

  18          THE WITNESS:    Yes, sir.

  19          THE COURT:    At this point, were you relying on

  20    anything that the confidential informant had told you

  21    about it?

  22          THE WITNESS:    Based on the conversation that they

  23    had, that he advised he had a crew of individuals that

  24    do home invasions and they were wanting a location, a

  25    stash house location, to do a home invasion on.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.724 Filed 12/22/10109
                                                                  Page 109 of 115


            Richard Jury-Examination/the Court 12-13-2010
   1          THE COURT:    But you had discussed specifically,

   2    however, yourself with Mr. Martin, doing this home

   3    invasion.

   4          That was the whole purpose of your meeting with him

   5    March 12.

   6          THE WITNESS:    Yes, sir.

   7          THE COURT:    Then again on March 25th?

   8          THE WITNESS:    Yes.

   9          THE COURT:    Then this conversation that started up

  10    again April 7, I believe?

  11          THE WITNESS:    Yes.

  12          THE COURT:    Was there any other basis you're aware

  13    of to conduct the stop of their car on May 27th?

  14          THE WITNESS:    I believed that based off the -- my

  15    knowledge of the previous meetings and the conversations

  16    I had as far as them conducting the home invasion, I did

  17    not believe that they would show up without firearms to

  18    conduct the home invasion.

  19          THE COURT:    What did you make of the fact they

  20    peeled off?

  21          THE WITNESS:    I wasn't sure, Your Honor.

  22          I didn't know if they had spotted one of my

  23    surveillance vehicles, if somebody -- the individuals in

  24    the vehicle got hinky of the situation.

  25          Due to the fact that he was not picking up my phone

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.725 Filed 12/22/10110
                                                                  Page 110 of 115




   1    calls, I didn't know what occurred at that point.

   2          THE COURT:    Mr. O'Brien, do you have anything else?

   3          MR. O'BRIEN:    No, Your Honor.

   4          THE COURT:    Any follow up from defense counsel to

   5    my questions?

   6          MR. MAGIDSON:    No, Your Honor.

   7          MR. SCHULMAN:    No, Your Honor.

   8          MR. THOLEN:    No, Your Honor.

   9          MS. MANNERINO:    Nothing further.

  10          THE COURT:    You can step down, sir.

  11                 (The witness excused at 3:44 p.m.)

  12          THE COURT:    What's Agent Holt going to tell me I

  13    need to know?

  14          MR. O'BRIEN:    That he was present when the car was

  15    stopped.    And that four individuals were taken into

  16    custody, the vehicle was transported to a police station

  17    and it was searched.      They were arrested for the

  18    conspiracy.

  19          THE COURT:    Any of that in controversy?      Any of

  20    that in controversy?

  21          MR. MAGIDSON:    No, Your Honor.

  22          THE COURT:    And that they had guns in the car?

  23          MR. O'BRIEN:    Then although I guess up to the point

  24    of the search, whatever was there was there.

  25          THE COURT:    Whatever was there was there.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.726 Filed 12/22/10111
                                                                  Page 111 of 115




   1          The question is whether they had probable cause to

   2    stop them.

   3          MR. O'BRIEN:    Or reasonable suspicion.

   4          THE COURT:    Or reasonable suspicion.

   5          MR. O'BRIEN:    Right.

   6          THE COURT:    I don't think I need to hear from Agent

   7    Holt.

   8          MR. O'BRIEN:    That's fine, Your Honor.

   9          THE COURT:    Unless -- do any of the defendants want

  10    to hear from him?

  11          MR. MAGIDSON:    No, Your Honor.

  12          MR. SCHULMAN:    No, Your Honor.

  13          MR. THOLEN:    No, Your Honor.

  14          MS. MANNERINO:    No.

  15          THE COURT:    Doesn't sound to me like his testimony

  16    goes to probable cause of the stop.

  17          MR. O'BRIEN:    Very well, Your Honor.      Just the

  18    circumstances of it, whether or not there was an issue

  19    of whether or not they wanted to question him about

  20    whether or not the defendants were taken from the

  21    vehicle.    But I think we agree to that.

  22          THE COURT:    Any question from the defense about the

  23    accuracy of the statements that are on the actual

  24    transcripts?

  25          Mr. Magidson, you've had an opportunity to review

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.727 Filed 12/22/10112
                                                                  Page 112 of 115




   1    the transcripts against the tapes, right?

   2          MR. MAGIDSON:    Yes, Your Honor.

   3          THE COURT:    Any question about the accuracy?

   4          I say this because what I propose to do is to go

   5    back and listen to the tapes, compare them to the

   6    transcripts.    Not all of them, but just the relevant

   7    ones that I've indicated here.       And then try to make a

   8    determination, first, as to whether statements are

   9    accurate.

  10          And, second, whether or not the statements taken

  11    together in their entirety provide a basis for the stop.

  12          MR. MAGIDSON:    The comparisons I've made, Your

  13    Honor, I've not detected any significant discrepancy.

  14          There's -- some things are easier to understand

  15    then others as you would normally expect.         But I didn't

  16    see anything that -- where one was white, one was black.

  17          A ha.   I've got you there.     I didn't see anything

  18    like that.

  19          THE COURT:    Okay.

  20          MR. O'BRIEN:    I would indicate, judge, that where

  21    the speech on the tape is so garbled it's difficult to

  22    tell what's being said, the transcript reflects the word

  23    "unintelligible".

  24          THE COURT:    And there was some question about who

  25    had said we ain't dirty, we're good.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.728 Filed 12/22/10113
                                                                  Page 113 of 115




   1          Have you had a chance to review the tape of the

   2    transcript, Mr. O'Brien, and assure yourself that, in

   3    fact, it was Mr. Patrick who said it?

   4          MR. O'BRIEN:    Yes, Your Honor.

   5          I agree with Mr. Schulman in terms of what you can

   6    view on the video recording and the circumstances of

   7    where the people were positioned.

   8          THE COURT:    Okay.

   9          MS. MANNERINO:    For purposes of -- I have discussed

  10    it with Mr. Davis.

  11          For purposes of this proceeding, I will not dispute

  12    the transcripts or the accuracy.

  13          If this case does, in fact, proceed to trial, I

  14    reserve the right to challenge what may be some

  15    inaccuracies for trial purposes.

  16          THE COURT:    Mr. Tholen?

  17          MR. THOLEN:    I guess I'll take the same position

  18    that she just did, Your Honor.

  19          THE COURT:    All right.    Let me take it under

  20    advisement.    We'll get an opinion out.       It's

  21    interesting.

  22          All right.    We'll get an opinion out.      In the

  23    meantime, we have a trial date, don't we?

  24          MR. O'BRIEN:    Tomorrow, judge, was the original

  25    date.

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.729 Filed 12/22/10114
                                                                  Page 114 of 115




   1          THE COURT:    What are we --

   2          MR. O'BRIEN:    It was adjourned -- I'm sorry.        It

   3    was tomorrow.    It was originally tomorrow.       It was

   4    adjourned until the decision was made on this particular

   5    motion.   I believe at the last motion hearing you

   6    indicated you want this issue to be decided.

   7          And if the Court would were to find that the trial

   8    date has to be adjourned, because this is critical to

   9    whether or not the trial can even proceed, then the

  10    speedy trial clock would be tolled.

  11          THE COURT:    Counsel ready to go to trial tomorrow?

  12          MR. O'BRIEN:    Pardon me?

  13          THE COURT:    Counsel ready to go to trial tomorrow?

  14          MR. O'BRIEN:    The Court told us there would not be

  15    a trial date tomorrow.      So, no.

  16          THE COURT:    I wasn't planning on holding the trial.

  17    But what I'm trying to think is whether or not, if I

  18    were to suppress the evidence, there wouldn't be much of

  19    a case left.

  20          MR. O'BRIEN:    Well, the government's position,

  21    judge, is that the crime the defendants committed was

  22    conspiracy to commit an armed home invasion and whether

  23    or not the evidence inside the vehicle disables that

  24    particular crime and whether or not the four of them

  25    arriving in the parking lot is a substantial step

                      Usa v Martin, et al 10-20346
Case 2:10-cr-20346-GER-RSW ECF No. 107, PageID.730 Filed 12/22/10115
                                                                  Page 115 of 115




   1    towards that conspiracy is an issue left to be resolved

   2    probably by people on a floor different then mine.

   3          THE COURT:    Okay.   We'll adjourn the trial and

   4    we'll give you a trial date probably be in January.           And

   5    we'll get an opinion out on this issue of the stop.

   6          MR. O'BRIEN:    Can I leave this with the Court?

   7          THE COURT:    Thanks.   Anything else?

   8          MR. O'BRIEN:    Nothing from the government, Your

   9    Honor.

  10          MR. MAGIDSON:    Nothing further, Your Honor.

  11

  12                 (This hearing then

  13                 concluded at 3:50 p.m.)

  14

  15                     CERTIFICATE OF COURT REPORTER
  16

  17

  18

  19      I certify that the foregoing is a correct transcript
  20      from reported proceedings in the above-entitled
  21    matter.
  22

  23

  24

  25    s/Carol S. Sapala, FCRR, RMR            December 15, 2010

                      Usa v Martin, et al 10-20346
